Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 1 of 194 PageID #: 22




                  EXHIBIT A
File & ServeXpress                                                        Page 1 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 2 of 194 PageID #: 23


 Click to Print                                                                Printed on: 3/9/2018 17:28:46 GMT-0500 (Eastern Standard Time)
                                                               Case History Search
                                                                Search Created:
                                                      3/9/2018 17:28:46 GMT-0500 (Eastern
                                                                Standard Time)



 Court:           DE Superior Court-New Castle       Judge:            Johnston, Mary M       File & ServeXpress Live 1/19/2018
                  County                                                                      Date:
 Division:        N/A                                Case Number: N18C-01-223 MMJ CCLD        Document(s) Filed:      82
 Case Type:       CCLD - Complex Commercial          Case Name:   State of Delaware v. Purdue Date Range:             All
                  Litigation Division                             Pharma L.P. et al.


                                                                                          1-20 of 20 transactions               Page 1 of 1

   Transaction       Date/Time     Option     Case Number       Authorizer       #    Document Type     Document Title              Review     Size
                                              Case Name         Organization                                                        Status

  61781209         3/9/2018        File And   N18C-01-223      Mary M            36   Order             Granted (The Parties' Accepted 0.2MB
                   11:03 AM EST    Serve      MMJ CCLD         Johnston,                                Stipulation and
                                              State of         DE Superior                              [Proposed] Order
                                              Delaware v.      Court-New                                Extending Time for
                                              Purdue           Castle County                            Defendants to Respond
                                              Pharma L.P. et                                            to the Complaint)
                                              al.                                                       • Linked to (1)

  61759340         3/5/2018 8:04   File And   N18C-01-223      Michael A         35   Stipulation &     The Parties' Stipulation Accepted 0.1MB
                   PM EST          Serve      MMJ CCLD         Barlow,                Order             and [Proposed] Order
                                              State of         Abrams &                                 Extending Time for
                                              Delaware v.      Bayliss LLP                              Defendants to Respond
                                              Purdue                                                    to the Complaint
                                              Pharma L.P. et                                            • Linked to (1)
                                              al.                                                       • Linked from (1)

  61739158         2/28/2018       File And   N18C-01-223      Mary M            31   Order - Pro Hac   Granted (Fields,          Accepted 0.1MB
                   11:58 AM EST    Serve      MMJ CCLD         Johnston,              Vice              Richard W.: [Proposed]
                                              State of         DE Superior                              Order for the
                                              Delaware v.      Court-New                                Admission Pro Hac Vice
                                              Purdue           Castle County                            on behalf of Plaintiffs.)
                                              Pharma L.P. et                                            • Linked to (1)
                                              al.
                                                                                 32   Order - Pro Hac   Granted (Hudson,          Accepted 0.1MB
                                                                                      Vice              Jenna A.: [Proposed]
                                                                                                        Order for the
                                                                                                        Admission Pro Hac Vice
                                                                                                        on behalf of Plaintiffs.)
                                                                                                        • Linked to (1)

                                                                                 33   Order - Pro Hac   Granted (Packman,         Accepted 0.1MB
                                                                                      Vice              Mark A.: [Proposed]
                                                                                                        Order for the
                                                                                                        Admission Pro Hac Vice
                                                                                                        on behalf of Plaintiffs.)
                                                                                                        • Linked to (1)

                                                                                 34   Order - Pro Hac   Granted (Shore,           Accepted 0.1MB
                                                                                      Vice              Richard: [Proposed]
                                                                                                        Order for the
                                                                                                        Admission Pro Hac Vice
                                                                                                        on behalf of Plaintiffs.)
                                                                                                        • Linked to (1)

  61716436         2/22/2018       File And   N18C-01-223      Ryan P            30   Affidavit of      Affidavits of Service      Accepted 0.3MB
                   11:07 AM EST    Serve      MMJ CCLD         Newell,                Service           from Brandywine
                                              State of         Connolly                                 Process Servers for
                                              Delaware v.      Gallagher                                service upon:
                                              Purdue                                                    Walgreens Boots




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File & ServeXpress                                                        Page 2 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 3 of 194 PageID #: 24


                                       Pharma L.P. et                                         Alliance, Inc., Endo
                                       al.                                                    Health Solutions, Inc.,
                                                                                              Endo Pharmaceuticals
                                                                                              Inc.,
                                                                                              Amerisourcebergen
                                                                                              Corporation, CVS
                                                                                              Health Corporation,
                                                                                              Purdue Pharma L.P.,
                                                                                              The Purdue Frederick
                                                                                              Company, McKesson
                                                                                              Corporation, H.D.
                                                                                              Smith LLC via their
                                                                                              registered agents
                                                                                              • Linked to (1)

                                                                             Certificate of   Certificate of Service to   Accepted 0.1MB
                                                                             Service          Affidavits of Service
                                                                                              from Brandywine
                                                                                              Process Servers for
                                                                                              service upon:
                                                                                              Walgreens Boots
                                                                                              Alliance, Inc., Endo
                                                                                              Health Solutions, Inc.,
                                                                                              Endo Pharmaceuticals
                                                                                              Inc.,
                                                                                              Amerisourcebergen
                                                                                              Corporation, CVS
                                                                                              Health Corporation,
                                                                                              Purdue Pharma L.P.,
                                                                                              The Purdue Frederick
                                                                                              Company, McKesson
                                                                                              Corporation, H.D.
                                                                                              Smith LLC via their
                                                                                              registered agents

  61713743   2/21/2018      File And   N18C-01-223      Susan SAH       29   Writ(s) Issued   (9) WRITS ISSUED 2-21-      Accepted 2.5MB
             3:01 PM EST    Serve      MMJ CCLD         Hearn,                                18 SPECIAL PROCESS
                                       State of         DE Superior                           SERVER
                                       Delaware v.      Court-New                             • Linked from (1)
                                       Purdue           Castle County
                                       Pharma L.P. et
                                       al.

  61703452   2/19/2018      File And   N18C-01-223      Ryan P          25   Motion for Pro   Plaintiffs' Motion for Accepted 0.1MB
             11:27 AM EST   Serve      MMJ CCLD         Newell,              Hac Vice         Admission Pro Hac Vice
                                       State of         Connolly                              of Richard W. Fields.
                                       Delaware v.      Gallagher                             • Linked to (1)
                                       Purdue
                                                                        26   Motion for Pro   Plaintiffs' Motion for Accepted 0.1MB
                                       Pharma L.P. et
                                                                             Hac Vice         Admission Pro Hac Vice
                                       al.
                                                                                              of Jenna A. Hudson.
                                                                                              • Linked to (1)

                                                                        27   Motion for Pro   Plaintiffs' Motion for Accepted 0.1MB
                                                                             Hac Vice         Admission Pro Hac Vice
                                                                                              of Mark A. Packman.
                                                                                              • Linked to (1)

                                                                        28   Motion for Pro   Plaintiffs' Motion for Accepted 0.1MB
                                                                             Hac Vice         Admission Pro Hac Vice
                                                                                              of Richard Shore.
                                                                                              • Linked to (1)

                                                                             Proposed Order - Fields, Richard W.:         Accepted 0.1MB
                                                                             Pro Hac Vice     [Proposed] Order for
                                                                                              the Admission Pro Hac
                                                                                              Vice on behalf of
                                                                                              Plaintiffs.
                                                                                              • Linked from (1)




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File & ServeXpress                                                        Page 3 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 4 of 194 PageID #: 25


                                                                        Certification    Certification of Richard   Accepted 0.2MB
                                                                                         W. Fields in support of
                                                                                         Plaintiffs' Motion for
                                                                                         Admission Pro Hac
                                                                                         Vice.

                                                                        Certificate of   Certificate of Service of Accepted 0.1MB
                                                                        Service          Motions and Orders for
                                                                                         Admission Pro Hac
                                                                                         Vice.

                                                                        Proposed Order - Hudson, Jenna A.:          Accepted 0.1MB
                                                                        Pro Hac Vice     [Proposed] Order for
                                                                                         the Admission Pro Hac
                                                                                         Vice on behalf of
                                                                                         Plaintiffs.
                                                                                         • Linked from (1)

                                                                        Certification    Certification of Jenna A. Accepted 0.1MB
                                                                                         Hudson in support of
                                                                                         Plaintiffs' Motion for
                                                                                         Admission Pro Hac
                                                                                         Vice.

                                                                        Proposed Order - Packman, Mark A.:          Accepted 0.1MB
                                                                        Pro Hac Vice     [Proposed] Order for
                                                                                         the Admission Pro Hac
                                                                                         Vice on behalf of
                                                                                         Plaintiffs.
                                                                                         • Linked from (1)

                                                                        Certification    Certification of Mark A.   Accepted 0.2MB
                                                                                         Packman in support of
                                                                                         Plaintiffs' Motion for
                                                                                         Admission Pro Hac
                                                                                         Vice.

                                                                        Proposed Order - Shore, Richard:            Accepted 0.1MB
                                                                        Pro Hac Vice     [Proposed] Order for
                                                                                         the Admission Pro Hac
                                                                                         Vice on behalf of
                                                                                         Plaintiffs.
                                                                                         • Linked from (1)

                                                                        Certification    Certification of Richard   Accepted 0.1MB
                                                                                         Shore in support of
                                                                                         Plaintiffs' Motion for
                                                                                         Admission Pro Hac
                                                                                         Vice.

  61690890   2/15/2018     File And   N18C-01-223      Ryan P      15   Alias Praecipe   Alias Praecipe to          Accepted 0.1MB
             4:42 PM EST   Serve      MMJ CCLD         Newell,                           Prothonotary to issue
                                      State of         Connolly                          summons Brandywine
                                      Delaware v.      Gallagher                         Process Servers to
                                      Purdue                                             Serve Defendant
                                      Pharma L.P. et                                     Purdue Pharma L.P.
                                      al.                                                • Linked to (1)

                                                                   16   Alias Praecipe   Alias Praecipe to          Accepted 0.1MB
                                                                                         Prothonotary to issue
                                                                                         summons Brandywine
                                                                                         Process Servers to
                                                                                         Serve Defendant The
                                                                                         Purdue Frederick
                                                                                         Company
                                                                                         • Linked to (1)

                                                                   17   Alias Praecipe   Alias Praecipe to          Accepted 0.1MB
                                                                                         Prothonotary to issue
                                                                                         summons Brandywine




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File & ServeXpress                                                        Page 4 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 5 of 194 PageID #: 26


                                                                        Process Servers to
                                                                        Serve Defendant Endo
                                                                        Health Solutions, Inc.
                                                                        • Linked to (1)

                                                  18   Alias Praecipe   Alias Praecipe to         Accepted 0.1MB
                                                                        Prothonotary to issue
                                                                        summons Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant Endo
                                                                        Pharmaceuticals Inc..
                                                                        • Linked to (1)

                                                  19   Alias Praecipe   Alias Praecipe to         Accepted 0.1MB
                                                                        Prothonotary to issue
                                                                        summons Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant
                                                                        McKesson Corporation
                                                                        • Linked to (1)

                                                  20   Alias Praecipe   Alias Praecipe to         Accepted 0.1MB
                                                                        Prothonotary to issue
                                                                        summons Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant
                                                                        AmerisourceBergen
                                                                        Corporation
                                                                        • Linked to (1)

                                                  21   Alias Praecipe   Alias Praecipe to         Accepted 0.1MB
                                                                        Prothonotary to issue
                                                                        summons Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant H.D.
                                                                        Smith, LLC
                                                                        • Linked to (1)

                                                  22   Alias Praecipe   Alias Praecipe to         Accepted 0.1MB
                                                                        Prothonotary to issue
                                                                        summons Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant CVS
                                                                        Health Corporation
                                                                        • Linked to (1)

                                                  23   Alias Praecipe   Alias Praecipe to         Accepted 0.1MB
                                                                        Prothonotary to issue
                                                                        summons Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant
                                                                        Walgreens Boots
                                                                        Alliance, Inc.
                                                                        • Linked to (1)

                                                  24   Certificate of   Certificate of Service    Accepted 0.1MB
                                                       Service          for Alias Praecipes and
                                                                        Alias Summonses

                                                       Alias Summons    Alias Summons             Accepted 0.1MB
                                                                        Directing Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant
                                                                        Purdue Pharma L.P.

                                                       Alias Summons    Alias Summons             Accepted 0.1MB
                                                                        Directing Brandywine
                                                                        Process Servers to
                                                                        Serve Defendant The




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File & ServeXpress                                                        Page 5 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 6 of 194 PageID #: 27


                                                                                               Purdue Frederick
                                                                                               Company

                                                                             Alias Summons     Alias Summons           Accepted 0.1MB
                                                                                               Directing Brandywine
                                                                                               Process Servers to
                                                                                               Serve Defendant Endo
                                                                                               Health Solutions Inc.

                                                                             Alias Summons     Alias Summons           Accepted 0.1MB
                                                                                               Directing Brandywine
                                                                                               Process Servers to
                                                                                               Serve Defendant Endo
                                                                                               Pharmaceuticals Inc.

                                                                             Alias Summons     Alias Summons           Accepted 0.1MB
                                                                                               Directing Brandywine
                                                                                               Process Servers to
                                                                                               Serve Defendant
                                                                                               McKesson Corporation

                                                                             Alias Summons     Alias Summons           Accepted 0.1MB
                                                                                               Directing Brandywine
                                                                                               Process Servers to
                                                                                               Serve Defendant
                                                                                               AmerisourceBergen
                                                                                               Corporation

                                                                             Alias Summons     Alias Summons           Accepted 0.1MB
                                                                                               Directing Brandywine
                                                                                               Process Servers to
                                                                                               Serve Defendant H.D.
                                                                                               Smith, LLC

                                                                             Alias Summons     Alias Summons           Accepted 0.1MB
                                                                                               Directing Brandywine
                                                                                               Process Servers to
                                                                                               Serve Defendant CVS
                                                                                               Health Corporation

                                                                             Alias Summons     Alias Summons           Accepted 0.1MB
                                                                                               Directing Brandywine
                                                                                               Process Servers to
                                                                                               Serve Defendant
                                                                                               Walgreens Boots
                                                                                               Alliance, Inc.

  61690686   2/14/2018      File And   N18C-01-223      Susan SAH       14   Order             ORDER SIGNED BY         Accepted 0.1MB
             2:58 PM EST    Serve      MMJ CCLD         Hearn,                                 JUDGE JOHNSTON ON
                                       State of         DE Superior                            JANUARY 29, 2018
                                       Delaware v.      Court-New                              PLAINTIFF'S MOTION
                                       Purdue           Castle County                          FOR APPOINTMENT OF
                                       Pharma L.P. et                                          SPECIAL PROCESS
                                       al.                                                     SERVER, HEREBY
                                                                                               GRANTED.
                                                                                               • Linked from (9)

  61671698   2/9/2018       File       N18C-01-223      Sheriff New     9    Sheriffs Return   Registered Agent    Accepted 0.1MB
             12:20 PM EST   Only       MMJ CCLD         Castle County,                         Served 02-08-2018
                                       State of         New Castle                             11:00 PERDUE PHARMA
                                       Delaware v.      County DE                              LP
                                       Purdue           Sheriffs Office
                                       Pharma L.P. et
                                       al.

  61671699   2/9/2018       File       N18C-01-223      Sheriff New     10   Sheriffs Return   Registered Agent        Accepted 0.1MB
             12:20 PM EST   Only       MMJ CCLD         Castle County,                         Served 02-08-2018
                                       State of         New Castle                             11:00 THE PURDUE
                                       Delaware v.      County DE                              FREDERICK COMPANY,
                                       Purdue           Sheriffs Office                        INC




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File & ServeXpress                                                        Page 6 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 7 of 194 PageID #: 28


                                        Pharma L.P. et
                                        al.

  61671701   2/9/2018        File       N18C-01-223      Sheriff New     11   Sheriffs Return   Registered Agent         Accepted 0.1MB
             12:20 PM EST    Only       MMJ CCLD         Castle County,                         Served 02-08-2018
                                        State of         New Castle                             11:00 MCKESSON
                                        Delaware v.      County DE                              CORPORATION
                                        Purdue           Sheriffs Office
                                        Pharma L.P. et
                                        al.

  61671702   2/9/2018        File       N18C-01-223      Sheriff New     12   Sheriffs Return   Registered Agent         Accepted 0.1MB
             12:20 PM EST    Only       MMJ CCLD         Castle County,                         Served 02-08-2018
                                        State of         New Castle                             11:00 H D SMITH LLC
                                        Delaware v.      County DE
                                        Purdue           Sheriffs Office
                                        Pharma L.P. et
                                        al.

  61671703   2/9/2018        File       N18C-01-223      Sheriff New     13   Sheriffs Return   Registered Agent         Accepted 0.1MB
             12:20 PM EST    Only       MMJ CCLD         Castle County,                         Served 02-08-2018
                                        State of         New Castle                             11:00 WALGREENS
                                        Delaware v.      County DE                              BOOTS ALLIANCE INC
                                        Purdue           Sheriffs Office
                                        Pharma L.P. et
                                        al.

  61666159   2/8/2018        File       N18C-01-223      Sheriff New     5    Sheriffs Return   Registered Agent         Accepted 0.1MB
             11:27 AM EST    Only       MMJ CCLD         Castle County,                         Served 02-07-2018
                                        State of         New Castle                             12:00 ENDO HEALTH
                                        Delaware v.      County DE                              SOLUTIONS, INC
                                        Purdue           Sheriffs Office
                                        Pharma L.P. et
                                        al.

  61666161   2/8/2018        File       N18C-01-223      Sheriff New     6    Sheriffs Return   Registered Agent         Accepted 0.1MB
             11:27 AM EST    Only       MMJ CCLD         Castle County,                         Served 02-07-2018
                                        State of         New Castle                             12:00 ENDO
                                        Delaware v.      County DE                              PHARMACEUTICALS,
                                        Purdue           Sheriffs Office                        INC
                                        Pharma L.P. et
                                        al.

  61666162   2/8/2018        File       N18C-01-223      Sheriff New     7    Sheriffs Return   Registered Agent         Accepted 0.1MB
             11:27 AM EST    Only       MMJ CCLD         Castle County,                         Served 02-07-2018
                                        State of         New Castle                             12:00
                                        Delaware v.      County DE                              AMERISOURCEBERGEN
                                        Purdue           Sheriffs Office                        CORPORATION
                                        Pharma L.P. et
                                        al.

  61666163   2/8/2018        File       N18C-01-223      Sheriff New     8    Sheriffs Return   Registered Agent         Accepted 0.1MB
             11:27 AM EST    Only       MMJ CCLD         Castle County,                         Served 02-07-2018
                                        State of         New Castle                             12:00 CVS HEALTH
                                        Delaware v.      County DE                              CORPORATION
                                        Purdue           Sheriffs Office
                                        Pharma L.P. et
                                        al.

  61647578   2/5/2018 3:01   File And   N18C-01-223      Susan SAH       4    Writ(s) Issued    (11) WRITS ISSUED ON     Accepted 0.3MB
             PM EST          Serve      MMJ CCLD         Hearn,                                 JANUARY 31, 2018.
                                        State of         DE Superior
                                        Delaware v.      Court-New
                                        Purdue           Castle County
                                        Pharma L.P. et
                                        al.

  61634383   2/1/2018 2:04   File And   N18C-01-223      Thomas E        3    Entry of          Entry of Appearance of   Accepted 0.1MB
             PM EST          Serve      MMJ CCLD         Hanson,              Appearance        Thomas E. Hanson, Jr.
                                        State of         Barnes &




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File & ServeXpress                                                        Page 7 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 8 of 194 PageID #: 29


                                   Delaware v.      Thornburg                          on Behalf of Defendant
                                   Purdue           LLP-                               H.D. Smith, LLC
                                   Pharma L.P. et   Wilmington
                                                                     Certificate of    Certificate of Service re Accepted 0.1MB
                                   al.
                                                                     Service           Entry of Appearance of
                                                                                       Thomas E. Hanson, Jr.
                                                                                       on Behalf of Defendant
                                                                                       H.D. Smith, LLC

  61581858   1/19/2018      File   N18C-01-223      Ryan P       1   Complaint         Complaint                Accepted 0.4MB
             12:45 PM EST   Only   MMJ CCLD         Newell,                            • Linked from (5)
                                   State of         Connolly
                                                                 2   Motion for        Motion for             Accepted 0.1MB
                                   Delaware v.      Gallagher
                                                                     Special Process   Appointment of Special
                                   Purdue
                                                                     Server            Process Server
                                   Pharma L.P. et
                                   al.                               Case Information Case Information Sheet Accepted 0.1MB
                                                                     Statement

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       Purdue Pharma L.P.

                                                                     Summons           Summons for              Accepted 0.1MB
                                                                                       Defendant Purdue
                                                                                       Pharma L.P.

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       Purdue Pharma, Inc.

                                                                     Summons           Summons for              Accepted 0.1MB
                                                                                       Defendant Purdue
                                                                                       Pharma, Inc.

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       The Purdue Frederick
                                                                                       Company

                                                                     Summons           Summons for              Accepted 0.1MB
                                                                                       Defendant The Purdue
                                                                                       Frederick Company

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       Endo Health Solutions
                                                                                       Inc.

                                                                     Summons           Summons for           Accepted 0.1MB
                                                                                       Defendant Endo Health
                                                                                       Solutions Inc.

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       Endo Pharmaceuticals
                                                                                       Inc.

                                                                     Summons           Summons for              Accepted 0.1MB
                                                                                       Defendant Endo
                                                                                       Pharmaceuticals Inc.

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       McKesson Corporation

                                                                     Summons           Summons for              Accepted 0.1MB
                                                                                       Defendant McKesson
                                                                                       Corporation

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       Cardinal Health, Inc.

                                                                     Summons           Summons for              Accepted 0.1MB
                                                                                       Defendant Cardinal
                                                                                       Health, Inc.

                                                                     Praecipe          Praecipe for Defendant   Accepted 0.1MB
                                                                                       AmerisourceBergen
                                                                                       Corporation




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File & ServeXpress                                                        Page 8 of 8
    Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 9 of 194 PageID #: 30


                                                     Summons          Summons for                Accepted 0.1MB
                                                                      Defendant
                                                                      AmerisourceBergen
                                                                      Corporation

                                                     Praecipe         Praecipe for Defendant     Accepted 0.1MB
                                                                      Anda Pharmaceuticals,
                                                                      Inc.

                                                     Summons          Summons for                Accepted 0.1MB
                                                                      Defendant Anda
                                                                      Pharmaceuticals, Inc.

                                                     Praecipe         Praecipe for Defendant     Accepted 0.1MB
                                                                      H. D. Smith, LLC

                                                     Summons          Summons for                Accepted 0.1MB
                                                                      Defendant H. D. Smith,
                                                                      LLC

                                                     Praecipe         Praecipe for Defendant Accepted 0.1MB
                                                                      CVS Health Corporation

                                                     Summons          Summons for                Accepted 0.1MB
                                                                      Defendant CVS Health
                                                                      Corporation

                                                     Praecipe         Praecipe for Defendant     Accepted 0.1MB
                                                                      Walgreens Boots
                                                                      Alliance, Inc.

                                                     Summons          Summons for                Accepted 0.1MB
                                                                      Defendant Walgreens
                                                                      Boots Alliance, Inc.

                                                     Proposed Order   Proposed Order to      Accepted 0.1MB
                                                                      Motion for
                                                                      Appointment of Special
                                                                      Process Server


                                                        1-20 of 20 transactions               Page 1 of 1




https://secure.fileandservexpress.com/SearchReport/DocsByCase.aspx?t=4&s=1                                  3/9/2018
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 10 of 194 PageID #: 31
                                               EFiled: Jan 19 2018 12:45PM EST
                                               Transaction ID 61581858
                                               Case No. N18C-01-223 MMJ
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 STATE OF DELAWARE, ex rel.
 MATTHEW P. DENN,
 Attorney General of the State of Delaware,

                  PLAINTIFF,

       v.                                       C.A. No. _________ CCLD

 PURDUE PHARMA L.P.,
 PURDUE PHARMA INC.,                            TRIAL BY JURY OF 12
 THE PURDUE FREDERICK COMPANY,                  DEMANDED
 ENDO HEALTH SOLUTIONS INC.,
 ENDO PHARMACEUTICALS INC.,
 MCKESSON CORPORATION,
 CARDINAL HEALTH, INC.,
 AMERISOURCEBERGEN CORPORATION,
 ANDA PHARMACEUTICALS, INC.,
 H. D. SMITH, LLC,
 CVS HEALTH CORPORATION, and
 WALGREENS BOOTS ALLIANCE, INC.,

                  DEFENDANTS.


                               COMPLAINT
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 11 of 194 PageID #: 32




                                      TABLE OF CONTENTS
      INTRODUCTION ...........................................................................................1

      PARTIES .......................................................................................................10

      I.       PLAINTIFF .........................................................................................10

      II.      DEFENDANTS ...................................................................................11

               A.       Manufacturer Defendants..........................................................11

               B.       Distributor Defendants ..............................................................13

               C.       Pharmacy Defendants ...............................................................15

      JURISDICTION AND VENUE ....................................................................17

      FACTUAL BACKGROUND........................................................................17

      I.       PRESCRIPTION OPIOIDS ARE HIGHLY DANGEROUS .............17

      II.      MANUFACTURER DEFENDANTS HAVE LEGAL DUTIES TO
               DISCLOSE ACCURATELY THE RISKS OF OPIOIDS..................19

      III.     MANUFACTURER DEFENDANTS VIOLATED
               THEIR DUTIES ..................................................................................20

               A.       Manufacturer Defendants Made Misleading Statements About
                        the Risks of Prescribing Opioids to Treat Chronic Pain and
                        Failed to State Accurately the Magnitude of Those Risks .......20

                        1.        Manufacturer Defendants Misrepresented the Risks of
                                  Addiction to Prescription Opioids ..................................21

                        2.        Manufacturer Defendants Misleadingly Claimed that
                                  Patients Who Were Showing Signs of Addiction Were
                                  Not Actually Addicted ....................................................27

                        3.        Manufacturer Defendants Falsely Claimed That There
                                  Was No Risk in Increasing Opioid Dosages to Treat
                                  Chronic Pain ...................................................................28




                                                         i
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 12 of 194 PageID #: 33



            B.       Manufacturer Defendants’ Misleading Statements Were
                     Designed for Maximum Effect and Targeted to Specific
                     Audiences ..................................................................................31

            C.       Manufacturer Defendants Knew or Should Have Known That
                     Their Statements Were Misleading...........................................37

            D.       Manufacturer Defendants’ Conduct Violated Their Duties .....43

      IV.   DISTRIBUTOR DEFENDANTS AND PHARMACY
            DEFENDANTS HAVE LEGAL DUTIES TO PREVENT OPIOID
            DIVERSION .......................................................................................45

            A.       Delaware and Federal Law Set a Standard of Care for
                     Distributor Defendants To Follow ...........................................46

                     1.       Duties Under Delaware Laws and Regulations ..............47

                     2.       Duties Under Federal Laws and Regulations .................48

            B.       Delaware and Federal Law Set a Standard of Care for Pharmacy
                     Defendants To Follow...............................................................49

                     1.       Duties Under Delaware Laws and Regulations ..............49

                     2.       Duties Under Federal Laws and Regulations .................52

      V.    DISTRIBUTOR DEFENDANTS AND PHARMACY
            DEFENDANTS HAVE FAILED TO FULFILL THEIR DUTIES ....56

            A.       Distributor Defendants Understood Their Duties and Violated
                     Them Anyway ...........................................................................56

                     1.       Distributor Defendants Understood and Acknowledged
                              Their Duties ....................................................................56

                     2.       Prior Regulatory Actions Against Distributor Defendants
                              for Failing to Prevent Diversion .....................................60

                              a.       Cardinal ................................................................60

                              b.       McKesson .............................................................62

                              c.       AmerisourceBergen ..............................................64


                                                    ii
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 13 of 194 PageID #: 34



                      3.       Despite Prior Regulatory Actions, Distributor Defendants
                               Violated Their Duties in Delaware .................................65

              B.      Pharmacy Defendants Understood Their Duties and Violated
                      Them Anyway ...........................................................................68

                      1.       Pharmacy Defendants Understood and Acknowledged
                               Their Duties ....................................................................68

                      2.       Prior Regulatory Actions Against Pharmacy Defendants
                               for Failing to Prevent Diversion .....................................71

                               a.        CVS ......................................................................71

                               b.        Walgreens .............................................................75

                      3.       Despite Prior Regulatory Actions, Pharmacy Defendants
                               Violated Their Duties in Delaware .................................78

      VI.     DEFENDANTS’ MISCONDUCT HAS INJURED AND
              CONTINUES TO INJURE THE STATE AND ITS CITIZENS .......79

              A.      Manufacturer Defendants’ Misconduct Has Injured and
                      Continues to Injure Delaware and Its Citizens .........................79

              B.      Distributor Defendants’ Misconduct has Injured and Continues
                      to Injure Delaware and Its Citizens...........................................84

              C.      Pharmacy Defendants’ Misconduct Has Injured and Continues
                      to Injure Delaware and Its Citizens...........................................86

              D.      Defendants’ Misconduct Has Damaged Delaware and Its
                      Citizens......................................................................................88

      COUNT I: CONSUMER FRAUD (AGAINST MANUFACTURER
          DEFENDANTS) .................................................................................90

      COUNT II: NUISANCE (AGAINST MANUFACTURER
          DEFENDANTS) .................................................................................92

      COUNT III: NEGLIGENCE (AGAINST MANUFACTURER
          DEFENDANTS) .................................................................................95




                                                      iii
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 14 of 194 PageID #: 35



      COUNT IV: UNJUST ENRICHMENT (AGAINST MANUFACTURER
          DEFENDANTS) .................................................................................98

      COUNT V: CONSUMER FRAUD (AGAINST DISTRIBUTOR
          DEFENDANTS AND PHARMACY DEFENDANTS).....................99

      COUNT VI: NUISANCE (AGAINST DISTRIBUTOR DEFENDANTS
          AND PHARMACY DEFENDANTS) ..............................................101

      COUNT VII: NEGLIGENCE (AGAINST DISTRIBUTOR DEFENDANTS
          AND PHARMACY DEFENDANTS) ..............................................105

      COUNT VIII: UNJUST ENRICHMENT (AGAINST DISTRIBUTOR
          DEFENDANTS AND PHARMACY DEFENDANTS)...................109

      COUNT IX: CIVIL CONSPIRACY (AGAINST MANUFACTURER
          DEFENDANTS, DISTRIBUTOR DEFENDANTS, AND
          PHARMACY DEFENDANTS)........................................................110

      PRAYER FOR RELIEF ..............................................................................112

      a.      On Count I (Consumer Fraud Against Manufacturer Defendants) ...112

      b.      On Count II (Nuisance Against Manufacturer Defendants) .............113

      c.      On Count III (Negligence Against Manufacturer Defendants).........114

      d.      On Count IV (Unjust Enrichment Against Manufacturer
              Defendants) .......................................................................................114

      e.      On Count V (Consumer Fraud Against Distributor Defendants and
              Pharmacy Defendants) ......................................................................114

      f.      On Count VI (Nuisance Against Distributor Defendants and Pharmacy
              Defendants) .......................................................................................115

      g.      On Count VII (Negligence Against Distributor Defendants and
              Pharmacy Defendants) ......................................................................116

      h.      On Count VIII (Unjust Enrichment Against Distributor Defendants
              and Pharmacy Defendants)................................................................116

      i.      On Count IX (Civil Conspiracy Against Manufacturer Defendants,
              Distributor Defendants, and Pharmacy Defendants).........................117


                                                      iv
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 15 of 194 PageID #: 36



      REQUEST FOR JURY TRIAL...................................................................117




                                               v
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 16 of 194 PageID #: 37



      Plaintiff, State of Delaware, ex rel. Matthew P. Denn, Attorney General of

the State of Delaware, brings this Complaint for compensatory, punitive, and other

damages, and restitution, disgorgement, and civil penalties. The Defendants are

(A) Purdue Pharma L.P., Purdue Pharma Inc., The Purdue Frederick Company,

Endo Health Solutions Inc., and Endo Pharmaceuticals Inc. (collectively,

“Manufacturer Defendants”); (B) McKesson Corporation, Cardinal Health, Inc.,

AmerisourceBergen Corporation, Anda Pharmaceuticals, Inc., and H. D. Smith,

LLC, (collectively, “Distributor Defendants”); and (C) CVS Health Corporation

and Walgreens Boots Alliance, Inc. (collectively, “Pharmacy Defendants”).

                                INTRODUCTION

      1.      Prescription opioids are powerful pain-reducing medications. They

include non-synthetic derivatives of the opium poppy (such as codeine and

morphine, which are also called “opiates”), partially-synthetic derivatives (such as

hydrocodone and oxycodone), and fully-synthetic derivatives (such as fentanyl and

methadone).

      2.      When used properly, prescription opioids can help manage pain for

certain patients. Despite their potential uses, these drugs can cause addiction,

overdose, and death, even when used properly. When used to treat chronic pain—

or when used for non-medical purposes—those risks are amplified.




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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 17 of 194 PageID #: 38



      3.     In recent years, the frequency of opioid use for both chronic pain and

non-medical purposes has grown dramatically, resulting in an epidemic of

prescription opioid abuse. According to the Centers for Disease Control and

Prevention (“CDC”), Delaware lost 669 people to drug overdose deaths between

2014 and 2016, and the “main driver” of such deaths was prescription and illicit

opioids.1 Nationwide, millions of Americans are addicted to prescription opioids,

and tens of thousands die annually from opioid overdoses.

      4.     Defendants’ conduct resulted in this epidemic.

      5.     Manufacturer Defendants have engaged, and continue to engage, in a

massive marketing campaign to misstate and conceal the risks of treating chronic

pain with opioids. Although manufacturers are prohibited from marketing opioids

through misstatements or omissions of material facts, Manufacturer Defendants

nonetheless disseminated misstatements through multiple channels. This campaign

includes websites, promotional materials, conferences, guidelines for doctors, and

other vehicles.

      6.     Their aggressive marketing campaign enabled Manufacturer

Defendants to overcome the longstanding medical consensus that opioids were

unsafe for the treatment of chronic pain and resulted in a significant increase in the


1
 CDC, Drug Overdose Death Data,
https://www.cdc.gov/drugoverdose/data/statedeaths.html (last updated December
19, 2017) (189 deaths in 2014; 198 deaths in 2015; 282 deaths in 2016).

                                          2
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 18 of 194 PageID #: 39



number of opioids prescribed nationwide. In fact, between 1999 and 2016, the

number of opioids prescribed nationwide quadrupled.2 Not surprisingly, deaths

from prescription opioid use also quadrupled over the same period.3

      7.    The increase in opioid prescriptions to treat chronic pain in turn led to

a massive increase in the number of people seeking prescription opioids for non-

medical uses and becoming addicted. Nationally, the number of people who take

prescription opioids for non-medical purposes is now greater than the number of

people who use cocaine, heroin, hallucinogens, and inhalants combined.4 In

Delaware alone, data from the Substance Abuse and Mental Health Services

Administration indicate that over 32,000 residents use prescription opioids for non-

medical purposes.5


2
  Li Hui Chen et al., Drug-poisoning Deaths Involving Opioid Analgesics: United
States, 1999–2011, 166 Nat’l Ctr. for Health Statistics Data Brief (Sept. 2014),
https://www.cdc.gov/nchs/data/databriefs/db166.pdf; Rose A. Rudd et al.,
Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–
2015, 65 Morbidity and Mortality Weekly Report 1445 (Dec. 30, 2016),
https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm.
3
  Anna Lembke, Drug Dealer MD: How Doctors Were Duped, Patients Got
Hooked, and Why It’s Hard To Stop 4 (2016).
4
  Substance Abuse and Mental Health Servs. Admin., Results from the 2009
National Survey on Drug Use and Health, NSDUH Series H-38A, HHS
Publication No. SMA 10-4586 Findings (2010).
5
  Substance Abuse and Mental Health Servs. Admin., National Survey on Drug
Use and Health: Comparison of 2002–2003 and 2013–2014 population
percentages (50 states and the District of Columbia) 16–17 (2015),
http://www.samhsa.gov/data/sites/default/files/NSDUHsaeLongTermCHG2014/N
SDUHsaeLongTermCHG2014.pdf (4.34% of people age 12 or older in Delaware
engage in the non-medical use of prescription pain relievers).

                                         3
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 19 of 194 PageID #: 40



      8.     This increase in non-medical demand and addiction has led to an

increase in diversion. Diversion occurs whenever the supply chain of prescription

opioids is broken and the drugs are transferred from a legitimate channel to an

illegitimate one.

      9.     The legitimate supply chain for prescription opioids begins with the

manufacture and packaging of the pills. Manufacturers then transfer the pills to

distribution companies—in particular Distributor Defendants, who together

account for 85% of opioid shipments in the United States. Distributors (including

Distributor Defendants) then supply opioids to pharmacies (including Pharmacy

Defendants) and other healthcare providers, which then dispense the drugs to

consumers.

      10.    At the distributor level, diversion occurs whenever opioid distributors

fill suspicious orders from retailers such as pharmacies. As discussed below, under

Delaware law, suspicious orders include orders of an unusually large size, orders

of a size that are disproportionately large in comparison to the population of a

community served by a pharmacy, orders that deviate from a normal pattern, and

orders of unusual frequency. Diversion also occurs when distributors allow

opioids to be lost or stolen from inventory or in transit.

      11.    At the pharmacy level, diversion occurs whenever a pharmacist fills a

prescription despite having reason to believe it was not being filled for a legitimate



                                           4
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 20 of 194 PageID #: 41



medical purpose. A prescription may lack a legitimate medical purpose when a

patient is either a drug dealer or opioid-dependent, seeks to fill multiple

prescriptions from different doctors, travels great distances between a doctor and a

pharmacy to fill a prescription, presents multiple prescriptions for the largest dose

of more than one controlled substance such as opioids and benzodiazepines, or

when there are other red flags surrounding the transaction. Opioids are also

diverted from retail outlets when they are stolen by employees or others, obtained

through the use of stolen or forged prescriptions, or sold without prescriptions.

      12.    Of the 860,000 opioid prescriptions issued in Delaware each year

(nearly one prescription per Delaware resident), studies suggest that as many as

110,000 of those prescriptions are diverted to non-medical uses.6 These

conclusions about the extent of opioid diversion are further supported by Drug



6
  The studies estimate that the percentage of prescription opioids that are diverted
to illegitimate purposes ranges from 1.9 percent to 12.8 percent of total
prescriptions. B.L. Wilsey et al., Profiling Multiple Provider Prescribing of
Opioids, Benzodiazepines, Stimulants, and Anorectics, 112 Drug and Alcohol
Dependence 99 (2010) (estimating that 12.8% of prescriptions are diverted); N.
Katz et al., Usefulness of Prescription Monitoring Programs for Surveillance–
Analysis of Schedule II Opioid Prescription Data in Massachusetts, 1996–2006,
19 Pharmacoepidemioloy and Drug Safety 115 (2010) (estimating the diversion
rate at 7.7% when defining likely diversion as patients that obtain opioids from at
least 3 prescribers and at least 3 pharmacies in a year); D.C. McDonald & K.E.
Carlson, Estimating the Prevalence of Opioid Diversion by “Doctor Shoppers” in
the United States, 8 PLoS ONE (2013) (estimating the diversion rate at 1.9% of all
prescriptions and 4% of total grams dispensed).


                                           5
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 21 of 194 PageID #: 42



Enforcement Administration (“DEA”) data showing that in the past few years

Delaware has seen annual distribution exceeding 50 pills per resident and 440 pills

per opioid user.7

      13.    As detailed below, Distributor Defendants and Pharmacy Defendants

have legal obligations to combat diversion. Delaware laws and regulations require

Distributor Defendants to refuse to fill suspicious orders and to conduct due

diligence of customers submitting such orders. Delaware laws and regulations also

require both Distributor Defendants and Pharmacy Defendants to maintain

inventory security and control systems in order to prevent the diversion of

controlled substances through loss, theft, or other means. Delaware laws and

regulations also require pharmacists to exercise professional judgment in

dispensing prescriptions, to address improper prescriptions, and to fill only

prescriptions for a legitimate medical purpose. Distributor Defendants and

Pharmacy Defendants have routinely and continuously violated these laws and



7
 Drug Enf’t Admin., ARCOS Report, Retail Drug Distribution By Zip Code
Within State by Grams Weight,
https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/2013/2013_rpt1.p
df;
https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/2014/2014_rpt1.p
df;
https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/2015/2015_rpt1.p
df;
https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/report_yr_2016.p
df.

                                          6
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 22 of 194 PageID #: 43



regulations, and instead have taken advantage of the massively increased demand

for prescription opioids for non-medical uses by profiting heavily from the sale of

opioids that they knew, or should have known, were being diverted from the

legitimate supply chain to illegitimate channels of distribution. The failure of

Distributor Defendants and Pharmacy Defendants to comply with their legal

obligations to prevent diversion and to alert authorities to potential diversion

continues today, despite (a) the well-known harm resulting from the opioid crisis,

and (b) substantial fines regarding diversion levied against multiple Distributor

Defendants and Pharmacy Defendants.

      14.    The misconduct of Defendants, including their consistent failure to

comply with their legal obligations, has led to an epidemic of prescription opioid

abuse in Delaware. This epidemic resulted in 694 prescription opioid-related

deaths in Delaware between 2007 and 2016, and 112 prescription opioid-related

deaths in Delaware in 2016 alone,8 and at least $100 million drained annually from




8
 CDC, Wide-ranging Online Data for Epidemiologic Research (WONDER),
Multiple Cause of Death Data, 1999–2016, https://wonder.cdc.gov/mcd.html.


                                          7
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 23 of 194 PageID #: 44



State resources for the healthcare,9 criminal justice,10 social services and welfare,11

and education systems.12


9
  Matric Global Advisors, Health Care Costs from Opioid Abuse: A state-by-state
analysis 5 (2015), http://drugfree.org/wp-
content/uploads/2015/04/Matrix_OpioidAbuse_040415.pdf (prescription opioid
abuse costs the citizens and State of Delaware approximately $109 million in
healthcare costs each year); Kohei Hasegawa et al., Epidemiology of Emergency
Department Visits for Opioid Overdose: A population-based study, 89 Mayo Clinic
Proceedings 462, 465, 467 (2014) (there are about two times as many opioid
overdoses in Emergency Departments among publicly-insured individuals than
among individuals with private insurance and publicly-insured individuals are
approximately twice as likely to have a second visit to the Emergency Departments
for opioid overdose as are privately-insured individuals); Cong. Research Serv.,
Medicaid’s Federal Medical Assistance Percentage (FMAP) 14–15 (2016),
https://fas.org/sgp/crs/misc/R43847.pdf (the State of Delaware pays for
approximately 40% of publicly-funded healthcare expenses, or $29 million).
10
   The Nat’l Ctr. on Addiction and Substance Abuse, Shoveling Up II: The impact
of substance abuse on federal, state, and local budgets 27 (2009),
http://www.centeronaddiction.org/addiction-research/reports/shoveling-ii-impact-
substance-abuse-federal-state-and-local-budgets (On average, state governments
spend 12% more than their healthcare spending on the justice system expenses
associated with substance abuse. Thus, compared to the $29 million Delaware
spends on opioid-related healthcare, data suggest that the State spends almost $33
million annually on the costs of opioid abuse to the justice system.).
11
   The Nat’l Ctr. on Addiction and Substance Abuse, Shoveling Up II: The impact
of substance abuse on federal, state, and local budgets 27 (2009),
http://www.centeronaddiction.org/addiction-research/reports/shoveling-ii-impact-
substance-abuse-federal-state-and-local-budgets (State governments spend 27% of
the amount they spend on healthcare to fund the social services related to substance
abuse. Applying this percentage to Delaware implies that the State spends almost
$8 million annually on social services related to opioid abuse.).
12
   The Nat’l Ctr. on Addiction and Substance Abuse, Shoveling Up II: The impact
of substance abuse on federal, state, and local budgets 27 (2009),
http://www.centeronaddiction.org/addiction-research/reports/shoveling-ii-impact-
substance-abuse-federal-state-and-local-budgets (State governments spend 77% of
the amount they spend on healthcare on the K–12 education expenses associated


                                           8
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 24 of 194 PageID #: 45



      15.    Damages suffered by the State (and State agencies) include the costs

of (a) medical care, therapeutic and prescription drugs, and other treatments for

patients suffering from opioid-related addiction, overdoses, or disease, or from

medical conditions exacerbated by opioid abuse; (b) treatment of infants born with

opioid-related addiction or medical conditions; (c) law enforcement and public

safety measures necessitated by the opioid crisis; (d) opioid-related counseling and

rehabilitation services; (e) welfare for children whose parents suffer from opioid-

related disease or incapacitation; and (f) expenditures under Medicaid for

purchases of prescription opioids for non-medical, illegitimate, or other improper

purposes. Delaware has also suffered substantial damages relating to the lost

productivity of Delaware citizens and Delaware businesses, and lower tax revenue

for the State. Damages suffered by Delaware citizens include costs of unnecessary

opioid prescriptions for chronic pain treatment, out-of-pocket expenditures on

medical care, and other treatments related to opioids.

      16.    To remedy Defendants’ misconduct, the State brings this action for

(a) violations of Delaware’s Consumer Fraud Act, (b) common law nuisance,

(c) negligence, (d) unjust enrichment, and (e) civil conspiracy.




with substance abuse. Using these data, Delaware is estimated to spend over $22
million annually to cover the burden of opioid abuse on the State’s K–12 education
system.).

                                          9
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 25 of 194 PageID #: 46



      17.    The State seeks (a) a cease-and-desist order; (b) compensatory

damages for the increased costs to Delaware’s healthcare, criminal justice, social

services, welfare, and education systems, as well as the cost of lost productivity

and lower tax revenue; (c) civil penalties under various provisions of the Delaware

Code; (d) reimbursement of all payments fraudulently induced by Defendants’

conduct; (e) disgorgement of all amounts unjustly obtained by Defendants;

(f) restitution of all expenditures by the State and Delaware consumers resulting

from Defendants’ conduct; (g) punitive damages; (h) attorneys’ fees and costs; and

(i) such further relief as justice may require.

                                      PARTIES

I.    PLAINTIFF

      18.    Plaintiff, State of Delaware, ex rel. Matthew P. Denn, Attorney

General of the State of Delaware, brings this action in the State’s capacity as

sovereign, in its proprietary capacity, and in a parens patriae capacity.

      19.    The Attorney General is statutorily authorized to initiate and maintain

this action, and does so pursuant to 6 Del. C. § 2522 and 29 Del. C. § 2522. This

action is also maintained pursuant to the Attorney General’s common law parens

patriae powers.




                                           10
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 26 of 194 PageID #: 47




II.   DEFENDANTS

             Manufacturer Defendants

      20.    Defendant Purdue Pharma L.P. (together with Purdue Pharma Inc. and

The Purdue Frederick Company, “Purdue”) is a limited partnership organized and

existing under the laws of the State of Delaware with its principal place of business

located in Stamford, Connecticut. During all relevant times, Purdue Pharma L.P.

has manufactured and distributed substantial amounts of prescription opioids that

have been and continue to be sold in Delaware. Purdue Pharma L.P. has engaged

in consensual commercial dealings with Delaware and its citizens, and has

purposefully availed itself of the advantages of conducting business with and

within Delaware.

      21.    Defendant Purdue Pharma Inc. (together with Purdue Pharma L.P. and

The Purdue Frederick Company, “Purdue”) is a corporation organized and existing

under the laws of New York State with its principal place of business located in

Stamford, Connecticut. During all relevant times, Purdue Pharma Inc. has

manufactured and distributed substantial amounts of prescription opioids that have

been and continue to be sold in Delaware. Purdue Pharma Inc. has engaged in

consensual commercial dealings with Delaware and its citizens, and has

purposefully availed itself of the advantages of conducting business with and

within Delaware.



                                         11
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 27 of 194 PageID #: 48



      22.    Defendant The Purdue Frederick Company (together with Purdue

Pharma L.P. and Purdue Pharma Inc., “Purdue”) is a corporation organized and

existing under the laws of the State of Delaware with its principal place of business

located in Stamford, Connecticut. During all relevant times, The Purdue Frederick

Company has manufactured and distributed substantial amounts of prescription

opioids that have been and continue to be sold in Delaware. The Purdue Frederick

Company has engaged in consensual commercial dealings with Delaware and its

citizens, and has purposefully availed itself of the advantages of conducting

business with and within Delaware.

      23.    Defendant Endo Health Solutions Inc. (together with Endo

Pharmaceuticals Inc., “Endo”) is a corporation organized and existing under the

laws of the State of Delaware with its principal place of business located in

Malvern, Pennsylvania. During all relevant times, Endo Health Solutions Inc. has

manufactured and distributed substantial amounts of prescription opioids that have

been and continue to be sold in Delaware. Endo Health Solutions Inc. has engaged

in consensual commercial dealings with Delaware and its citizens, and has

purposefully availed itself of the advantages of conducting business with and

within Delaware.

      24.    Defendant Endo Pharmaceuticals Inc. (together with Endo Health

Solutions Inc., “Endo”) is a corporation organized and existing under the laws of



                                         12
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 28 of 194 PageID #: 49



the State of Delaware with its principal place of business located in Malvern,

Pennsylvania. During all relevant times, Endo Pharmaceuticals Inc. has

manufactured and distributed substantial amounts of prescription opioids that have

been and continue to be sold in Delaware. Endo Pharmaceuticals Inc. has engaged

in consensual commercial dealings with Delaware and its citizens, and has

purposefully availed itself of the advantages of conducting business with and

within Delaware.

      25.    As discussed further below, in violation of their legal obligations,

each Manufacturer Defendant has made misstatements or omitted information

regarding the risks of using prescription opioids to treat chronic pain.

             Distributor Defendants

      26.    Defendant McKesson Corporation (“McKesson”) is a corporation

organized and existing under the laws of the State of Delaware with its principal

place of business located at One Post Street, San Francisco, CA 94104. McKesson

is authorized to conduct business in Delaware. During all relevant times,

McKesson has distributed substantial amounts of prescription opioids to providers

and retailers in Delaware. McKesson has engaged in consensual commercial

dealings with Delaware and its citizens, and has purposefully availed itself of the

advantages of conducting business with and within Delaware.




                                          13
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 29 of 194 PageID #: 50



      27.    Defendant Cardinal Health, Inc. (“Cardinal”) is a corporation

organized and existing under the laws of the State of Ohio with its principal place

of business located at 7000 Cardinal Place, Dublin, OH 43017. Cardinal is

authorized to conduct business in Delaware. During all relevant times, Cardinal

has distributed substantial amounts of prescription opioids to providers and

retailers in Delaware. Cardinal has engaged in consensual commercial dealings

with Delaware and its citizens, and has purposefully availed itself of the

advantages of conducting business with and within Delaware.

      28.    Defendant AmerisourceBergen Corporation (“AmerisourceBergen”)

is a corporation organized and existing under the laws of the State of Delaware

with its principal place of business located at 1300 Morris Drive, Chesterbrook, PA

19087. AmerisourceBergen is authorized to conduct business in Delaware.

During all relevant times, AmerisourceBergen has distributed substantial amounts

of prescription opioids to providers and retailers in Delaware. AmerisourceBergen

has engaged in consensual commercial dealings with Delaware and its citizens, and

has purposefully availed itself of the advantages of conducting business with and

within Delaware.

      29.    Defendant Anda Pharmaceuticals, Inc. (“Anda”) is a corporation

organized and existing under the laws of the State of Florida with its principal

place of business located at 2915 Weston Road, Weston, FL 33331. Anda is



                                         14
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 30 of 194 PageID #: 51



authorized to conduct business in Delaware. During all relevant times, Anda has

distributed substantial amounts of prescription opioids to providers and retailers in

Delaware. Anda has engaged in consensual commercial dealings with Delaware

and its citizens, and has purposefully availed itself of the advantages of conducting

business with and within Delaware.

      30.    Defendant H. D. Smith, LLC (“H. D. Smith”) is a limited liability

company organized and existing under the laws of the State of Delaware with its

principal place of business located at 3606 Fiat Avenue, Springfield, IL 62703.

H. D. Smith is authorized to conduct business in Delaware. During all relevant

times, H. D. Smith has distributed substantial amounts of prescription opioids to

providers and retailers in Delaware. H. D. Smith has engaged in consensual

commercial dealings with Delaware and its citizens, and has purposefully availed

itself of the advantages of conducting business with and within Delaware.

      31.    As discussed further below, each of the Distributor Defendants has

consistently failed to comply with its legal obligations concerning opioid diversion

and many have paid civil penalties to resolve government allegations regarding

opioid diversion.

             Pharmacy Defendants

      32.    Defendant CVS Health Corporation (“CVS”) is a corporation

organized and existing under the laws of the State of Delaware with its principal



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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 31 of 194 PageID #: 52



place of business located at One CVS Drive, Woonsocket, RI 02895. CVS is

authorized to conduct business in Delaware. During all relevant times, CVS has

sold and continues to sell prescription opioids at locations within Delaware,

including in close proximity to Delaware’s hospitals, clinics, and other healthcare

facilities serving patients of Delaware’s healthcare system. CVS has engaged in

consensual commercial dealings with Delaware and its citizens, and has

purposefully availed itself of the advantages of conducting business with and

within Delaware.

      33.    Defendant Walgreens Boots Alliance, Inc., f/k/a Walgreen Co.

(“Walgreens”) is a corporation organized and existing under the laws of the State

of Delaware with its principal place of business located at 108 Wilmot Road,

Deerfield, IL 60015. Walgreens is authorized to conduct business in Delaware.

During all relevant times, Walgreens has sold and continues to sell prescription

opioids at locations within Delaware, including in close proximity to Delaware’s

hospitals, clinics, and other healthcare facilities serving patients of Delaware’s

healthcare system. Walgreens has engaged in consensual commercial dealings

with Delaware and its citizens, and has purposefully availed itself of the

advantages of conducting business with and within Delaware.

      34.    As discussed further below, each of the Pharmacy Defendants has

consistently failed to comply with its legal obligations concerning opioid diversion,



                                          16
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 32 of 194 PageID #: 53



and each has paid civil penalties to resolve government allegations regarding

opioid diversion.

                          JURISDICTION AND VENUE

      35.    Jurisdiction of this Court is proper under Article IV, Section 7, of the

Delaware Constitution and 10 Del. C. § 541.

      36.    This case qualifies for assignment to the Superior Court Complex

Commercial Litigation Division because the amount in controversy exceeds One

Million Dollars ($1,000,000).

      37.    This Court has personal jurisdiction over Defendants because each

Defendant is, or was during the relevant time period, incorporated in Delaware or

licensed to do business in Delaware; is transacting or has transacted business in

Delaware; or has other significant contacts with Delaware. Each Defendant has

sufficient contacts with Delaware to give rise to the current action, has continuous

and systematic contacts with Delaware, or has consented either explicitly or

implicitly to the jurisdiction of this Court.

                            FACTUAL BACKGROUND

I.    PRESCRIPTION OPIOIDS ARE HIGHLY DANGEROUS

      38.    Prescription opioids are powerful pain-reducing medications that

include non-synthetic, partially-synthetic, and fully-synthetic derivatives of the

opium poppy. While these drugs can have benefits when used properly, they also



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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 33 of 194 PageID #: 54



pose serious risks. In particular, government agencies have warned that opioids

present “substantially increase[d]” risk when used to treat chronic pain and “can

cause serious harm, including addiction, overdose and death” when “misused or

abused.”13

       39.   Given these risks, the marketing, distribution, and sale of prescription

opioids are heavily regulated under Delaware and Federal law. Delaware’s

Uniform Controlled Substances Act (16 Del. C. §§ 4701, et seq.), Uniform

Controlled Substances Act Regulations (24 Del. Admin. C. CSA 1.0 et seq.) code

sections regarding branding of drugs (e.g., 16 Del. C. §§ 3302, et seq.), and

numerous professional regulations related to persons who handle, prescribe, and

dispense controlled substances provide strict controls and requirements throughout

the opioid distribution chain. These provisions of Delaware law also incorporate

and reference Federal law regarding the marketing, distribution, and sale of

prescription opioids, including the Federal Controlled Substances Act, 21 U.S.C.

§§ 801 et seq., and the Federal Food, Drug, and Cosmetic Act, 21 U.S. §§ 321 et

seq.

       40.   As discussed below, despite the dangers of prescription opioids,

Manufacturer Defendants wrongfully marketed them through misleading


13
   Food and Drug Admin., Opioid Medications,
https://www.fda.gov/Drugs/DrugSafety/InformationbyDrugClass/ucm337066.htm
(last updated July 14, 2017).

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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 34 of 194 PageID #: 55



statements that minimized the risk of these drugs and failed to disclose accurately

the true magnitude of those risks. The actions of Manufacturer Defendants created

a huge market for prescription opioids, which in turn led to massive diversion of

these drugs from legitimate to illegitimate channels. Distributor Defendants and

Pharmacy Defendants, who have duties to prevent diversion, wrongfully turned a

blind eye to it. As a result of the wrongful acts of the Defendants, Delaware and its

citizens suffered injuries and damages.

II.   MANUFACTURER DEFENDANTS HAVE LEGAL DUTIES TO
      DISCLOSE ACCURATELY THE RISKS OF OPIOIDS
      41.    Each Manufacturer Defendant has a legal obligation under Delaware

statutory and common law to exercise reasonable care in the marketing, promotion,

and sale of opioids.

      42.    Under Delaware law, “No person shall manufacturer, sell or trade in,

within this State, any article of food or drugs which is . . . misbranded . . . within

the meaning of this chapter.” 16 Del. C. § 3302. The referenced chapter

incorporates “the definition of misbranding in the Federal Food, Drug, and

Cosmetic Act.” See 16 Del. C. § 3308. The Federal Food, Drug, and Cosmetic

Act defines misbranding to include misleading advertising. See 21 U.S.C.

§ 302(n). It further defines misleading advertising to include both “representations

made or suggested by statement, word, design, device, or any combination

thereof,” and:


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 35 of 194 PageID #: 56



             the extent to which the labeling or advertising fails to reveal facts
             material in the light of such representations or material with
             respect to consequences which may result from the use of the
             article to which the labeling or advertising relates under the
             conditions of use prescribed in the labeling or advertising thereof
             or under such conditions of use as are customary or usual.

Id.

       43.      Manufacturer Defendants also have a common law “duty to make a

full and fair disclosure as to the matters about which” they choose to speak.

III.   MANUFACTURER DEFENDANTS VIOLATED THEIR DUTIES

                Manufacturer Defendants Made Misleading Statements About the
                Risks of Prescribing Opioids to Treat Chronic Pain and Failed to
                State Accurately the Magnitude of Those Risks

       44.      Manufacturer Defendants have engaged in a multi-million dollar

marketing campaign to minimize and misstate the risks of addiction and abuse

when prescription opioids are used to treat chronic pain.

       45.      Manufacturer Defendants made statements through websites,

promotional materials, conferences, guidelines for doctors, and other vehicles that

suggested that the risk of opioid addiction when used for chronic pain was low—

statements directly contrary to established scientific evidence. Manufacturer

Defendants’ marketing claims also differ from the safety warnings that

Manufacturer Defendants must place on many of their opioid products. In fact, as

discussed further below, Manufacturer Defendants have been repeatedly fined or

otherwise sanctioned for their misleading statements in the marketing of opioids.



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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 36 of 194 PageID #: 57




             1.    Manufacturer Defendants Misrepresented the Risks of
                   Addiction to Prescription Opioids

      46.    Manufacturer Defendants contributed content and funding to

numerous “guidelines” on opioid use that misleadingly downplayed the risks of

opioid addiction when prescribed for chronic pain. For instance, “A Policymaker’s

Guide to Understanding Pain & Its Management,” an October 2011 American Pain

Foundation pamphlet “made possible by support from Purdue Pharma LP,”

asserted that “[l]ess than 1 percent of children treated with opioids become

addicted” and that pain was generally “undertreated” due to “misconceptions about

opioid addiction.”14 Similarly, “Clinical Guidelines for the Use of Chronic Opioid

Therapy in Chronic Noncancer Pain,” a February 2009 article funded by the

American Pain Society and written by several authors with financial ties to

Manufacturer Defendants, promoted opioids as “safe and effective” for chronic

pain treatment and indicated that the risk of addiction was manageable for all

patients regardless of past drug abuse history.15 Likewise, “Treatment Options: A

Guide for People Living with Pain,” a 2006 American Pain Foundation pamphlet



14
   Am. Pain Found., A Policymaker’s Guide to Understanding Pain & Its
Management (Oct. 2011), http://s3.documentcloud.org/documents/277603/apf-
policymakers-guide.pdf.
15
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in
Chronic Noncancer Pain, 10 The J. of Pain 113 (Feb. 2009),
http://dx.doi.org/10.1016/j.jpain.2008.10.008.


                                         21
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 37 of 194 PageID #: 58



financially supported by Purdue, instructed that addiction is rare and limited to

certain extreme cases.16 Endo also sponsored the American Pain Foundation; in

2010 alone, the organization received more than $2,500,000 from Endo.17

      47.    Manufacturer Defendants produced and provided directly to doctors

and patients marketing materials that made similar misstatements. Purdue issued

marketing materials, starting in 1996, stating that “addiction to opioids legitimately

used in the management of pain is very rare.”18 On information and belief, Endo

distributed a pamphlet, “Living with Someone with Chronic Pain,” which stated

that most health care providers agree that most people do not develop an addiction.

      48.    Manufacturer Defendants ran websites that promoted similar

misleading claims. For example, Endo sponsored two websites,

painknowledge.com and painaction.com, which claimed as of 2004 and 2015,

respectively, that “[p]eople who take opioids as prescribed usually do not become

addicted” and “[m]ost chronic pain patients do not become addicted to the opioid

medications that are prescribed for them.”


16
   Am. Pain Found., Treatment Options: A guide for people living with pain
(2006), https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf.
17
   Am. Pain Found., Annual Report (2010), https://archive.org/details/277604-apf-
2010-annual-report.
18
   Drug Label for Oxycodone Hydrochloride 5mg Capsule,
https://dailymed.nlm.nih.gov/dailymed/archives/fdaDrugInfo.cfm?archiveid=4106
8.


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 38 of 194 PageID #: 59



      49.     Endo also represented that “[t]aking opioids for pain relief is not

addiction” and that “[a]ddiction to an opioid would mean that your pain has gone

away but you still take the medicine regularly when you don’t need it for pain,

maybe just to escape from your problem.”19 In the same publication, Endo

suggested that patients use the following test to determine whether they are

addicted to opioids: “Ask yourself: Would I want to take this medicine if my pain

went away? If you answer no, you are taking opioids for the right reasons—to

relieve pain and improve your function. You are not addicted.”20

      50.     Manufacturer Defendants trained salesmen to minimize the risk of

addiction when discussing opioids with doctors. For instance, Purdue salesmen

were instructed to tell doctors that opioids’ addiction risk was “less than one

percent.”21

      51.     Manufacturer Defendants sponsored training sessions where doctors

were given similar misleading information regarding the risks of opioid addiction.




19
   Endo Pharmaceuticals, Understanding Your Pain: Taking Oral Opioid
Analgesics (2004), https://perma.cc/QN86-62PK.
20
   Id.
21
   U.S. Gov’t Accountability Office, Prescription Drugs: OxyContin abuse and
diversion and efforts to address the problem (Dec. 2003),
https://www.gpo.gov/fdsys/pkg/GAOREPORTS-GAO-04-110/content-detail.html.


                                          23
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 39 of 194 PageID #: 60



For example, Purdue sponsored training sessions in the late 1990s and early 2000s

where opioid addiction was described as “exquisitely rare.”22

      52.    All of these statements were contrary to scientific facts. The CDC has

directly contradicted Manufacturer Defendants’ representations that opioid

addiction is rare when opioids are used properly. The CDC has stated that

(1) there is “extensive evidence” of the possible harms of opioids, including

addiction; (2) “[o]pioid pain medication use presents serious risks,” including

addiction; and (3) using opioids to treat chronic pain “substantially increases” the

risk of addiction.23 A 2016 CDC guideline discusses studies that found that as

many as 26% of long-term users of opioids experience problems with addiction or

dependence.24

      53.    Moreover, in August 2016, the U.S. Surgeon General published an

open letter to physicians nationwide, worrying that “heavy marketing to doctors”

had led many to be “taught – incorrectly – that opioids are not addictive when




22
   Barry Meier, Pain Killer: A “wonder” drug’s trail of addiction and death 190
(2003).
23
   Deborah Dowell, Tamara Haegerich, & Roger Chou, CDC Guideline for
Prescribing Opioids for Chronic Pain – United States, 2016, 65 Morbidity and
Mortality Weekly Report 1 (2016),
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
24
   Id.


                                         24
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 40 of 194 PageID #: 61



prescribed for legitimate pain.” This letter also noted the “devastating” results that

followed from this misinformation.25

      54.    Findings by the Food and Drug Administration (“FDA”) similarly

belie Manufacturer Defendants’ assertions that opioids are safe for treating chronic

pain. These findings show that (1) “most opioid drugs have ‘high potential for

abuse’”; (2) treatment of chronic pain with opioids poses “known serious risks,”

including “addiction, abuse, and misuse . . . overdose and death” even when used

“at recommended doses”; and (3) opioids should be used only “in patients for

whom alternative treatment options” have failed.26 And several published clinical

studies finding double-digit rates of prescription drug abuse in chronic pain

patients controvert Manufacturer Defendants’ claims that addiction rates are only

one percent.27


25
   Letter from U.S. Surgeon General Vivek H. Murthy (Aug. 2016),
https://perma.cc/VW95-CUYC.
26
   Food and Drug Admin., Letter from Janet Woodcock, M.D., Dir. of Center for
Drug Evaluation and Research, to Andrew Kolodny, M.D. Responding to Petition
Submitted by Physicians for Responsible Opioid Prescribing (Sept. 10, 2013),
http://www.supportprop.org/wp-
content/uploads/2014/12/FDA_CDER_Response_to_Physicians_for_Responsible_
Opioid_Prescribing_Partial_Petition_Approval_and_Denial.pdf.
27
   Caleb J. Banta-Green et al., Opioid Use Behaviors, Mental Health and Pain—
Development of a Typology of Chronic Pain Patients, 104 Drug and Alcohol
Dependence 34 (Sept. 2009), http://dx.doi.org/10.1016/j.drugalcdep.2009.03.021;
Joseph A. Boscarino et al., Risk Factors for Drug Dependence Among Out-
Patients on Opioid Therapy in a Large US Health-Care System, 105 Addiction
1776 (Oct. 2010), http://dx.doi.org/10.1111/j.1360-0443.2010.03052.x; Jette


                                          25
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 41 of 194 PageID #: 62



      55.     Similarly, a prominent neuropharmacologist at the Washington

University School of Medicine in St. Louis, Missouri, Dr. Theodore Cicero,

remarked in 2016 that Purdue’s OxyContin dosing is “the perfect recipe for

addiction” due to its encouragement of psychological and physical withdrawal

symptoms.28

      56.     As recently as June 2017, the New England Journal of Medicine

published an analysis finding that Purdue’s introduction of OxyContin into the

marketplace coincided with a significant increase in misleading dissemination of

the claim that addiction to opioids is rare. Moreover, the authors of the June 2017

analysis concluded that “[w]e believe that this citation pattern contributed to the

North American opioid crisis by helping to shape a narrative that allayed

prescribers’ concerns about the risk of addiction associated with long-term opioid

therapy.”29




Højsted et al., Classification and Identification of Opioid Addiction in Chronic
Pain Patients, 14 European J. of Pain 1014 (Nov. 2010),
http://dx.doi.org/10.1016/j.ejpain.2010.04.006.
28
   Harriet Ryan, ‘You Want a Description of Hell?’ OxyContin’s 12-Hour
Problem,” Los Angeles Times, May 5, 2016,
http://www.latimes.com/projects/oxycontin-part1/.
29
   Pamela T. M. Leung et al., A 1980 Letter on the Risk of Opioid Addiction, 376
New England J. of Med. 2194 (June 1, 2017),
http://www.dx.doi.org/10.1056/NEJMc1700150.

                                          26
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 42 of 194 PageID #: 63




               2.    Manufacturer Defendants Misleadingly Claimed that
                     Patients Who Were Showing Signs of Addiction Were Not
                     Actually Addicted

        57.    Manufacturer Defendants also made false statements through various

channels that individuals showing signs of opioid addiction might instead have

untreated pain requiring additional opioids—a baseless theory labeled

“pseudoaddiction.”

        58.    On information and belief, Purdue published a physician education

pamphlet in 2011 that suggested that drug-seeking behavior could be a sign of such

“pseudoaddiction,” which the pamphlet described as “[drug-seeking behaviors] in

patients who have pain that has not been effectively treated.” The pamphlet thus

implied that seeking more opioids might actually be a sign of insufficiently treated

pain. Purdue employed the term “pseudoaddiction” in numerous other marketing

materials, including a 2007 book titled “Responsible Opioid Prescribing – A

Physician’s Guide.”30 On information and belief, Endo also published materials

promoting “pseudoaddiction.”

        59.    However, there is no scientific support for the concept of

“pseudoaddiction,” a term coined by Dr. J. David Haddox, the Vice President of




30
     Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide (2007).


                                           27
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 43 of 194 PageID #: 64



Health Policy for Purdue.31 In fact, Endo’s Vice President for Pharmacovigilance

and Risk Management recently testified that he was not aware of any research

validating the “‘pseudoaddiction’ concept.”32

      60.     The 2016 CDC Guideline rejects the concept of pseudoaddiction.

Rather than recommending that opioid doses be increased if patients do not

experience pain relief, the Guideline states that “[p]atients who do not experience

clinically meaningful pain relief early in treatment . . . are unlikely to experience

pain relief with longer term use”33 and that doctors should “reassess[] pain and

function within 1 month” so as to “minimize risks of long-term opioid use . . . .”34

             3.     Manufacturer Defendants Falsely Claimed That There Was
                    No Risk in Increasing Opioid Dosages to Treat Chronic
                    Pain

      61.    Manufacturer Defendants also falsely claimed that doctors and

patients could increase opioid dosages indefinitely without added risk.



31
   Marion S. Greene & R. Andrew Chambers, Pseudoaddiction: Fact or fiction?
An investigation of the medical literature, 2 Current Addiction Reports 310 (Oct. 1,
2015), http://dx.doi.org/10.1007/s40429-015-0074-7.
32
   Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15
at 7, In re Endo Health Solutions Inc., No. 15-228 (Attorney General of the State
of N.Y. 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
33
    Deborah Dowell, Tamara Haegerich, & Roger Chou, CDC Guideline for
Prescribing Opioids for Chronic Pain – United States, 2016, 65 Morbidity and
Mortality Weekly Report 1, 13 (2016),
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
34
   Id. at 25.


                                          28
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 44 of 194 PageID #: 65



      62.    Guidelines edited and sponsored by Purdue and Endo35—namely

“Treatment Options: A Guide for People Living with Pain” (2006) and “A

Policymaker’s Guide to Understanding Pain & Its Management” (2011)—claim

that (a) some patients “need” a larger opioid dose, regardless of the dose

prescribed; (b) opioids have “no ceiling dose” and are therefore the most

appropriate treatment for severe pain; and (c) dosage escalations, even unlimited

ones, are “sometimes necessary.”36

      63.    As recently as June 2015, Purdue’s “In the Face of Pain” website was

promoting the notion that if a patient’s doctor does not prescribe what, in the

patient’s view, is a sufficient dosage of opioids, the patient should find another

doctor who will. Also in 2015, Purdue presented a paper at the College on the

Problems of Drug Dependence, challenging the correlation between opioid dosage

and overdose.37 And in 2016, Purdue’s Dr. Haddox falsely claimed that evidence

does not show that Purdue’s opioids are being abused in large numbers.



35
   Am. Pain Found., Annual Report (2010),
https://www.documentcloud.org/documents/277604-apf-2010-annual-report.
36
   Am. Pain Found., Treatment Options: A guide for people living with pain
(2006), https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf; Am. Pain Found., A Policymaker’s Guide to Understanding
Pain & Its Management (Oct. 2011),
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
37
   A. DeVeaugh-Geiss et al., Is Opioid Dose a Strong Predictor of the Risk of
Opioid Overdose?: Important confounding factors that change the dose-overdose


                                          29
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 45 of 194 PageID #: 66



         64.   Endo distributed a pamphlet in 2004, “Understanding Your Pain:

Taking Oral Opioid Analgesics,” which stated that patients “won’t ‘run out’ of

pain relief” so long as they increase their dosages.38 Endo also sponsored a

website from 2004 to 2007, painknowledge.com, which claimed that opioid

dosages may be increased until “you are on the right dose of medication for your

pain.”

         65.   Manufacturer Defendants made these statements despite strong

contrary scientific evidence. The FDA has stated that the available data “suggest a

relationship between increasing opioid dose and risk of certain adverse events.”39

The CDC has stated that there is “an established body of scientific evidence

showing that overdose risk is increased at higher opioid dosages,” and has

specifically recommended that doctors “avoid increasing doses” above

90 morphine milligram equivalents (“MME”) per day. 40


relationship, CPDD 76th Annual Scientific Meeting Program (June 2014),
http://cpdd.org/wp-content/uploads/2016/07/2014CPDDprogrambook.pdf.
38
   Endo Pharmaceuticals, Understanding Your Pain: Taking oral opioid analgesics
(2004), https://perma.cc/QN86-62PK.
39
   Food and Drug Admin., Letter from Janet Woodcock, M.D., Dir. of Center for
Drug Evaluation and Research, to Andrew Kolodny, M.D. Responding to Petition
Submitted by Physicians for Responsible Opioid Prescribing (Sept. 10, 2013),
http://www.supportprop.org/wp-
content/uploads/2014/12/FDA_CDER_Response_to_Physicians_for_Responsible_
Opioid_Prescribing_Partial_Petition_Approval_and_Denial.pdf.
40
   Deborah Dowell, Tamara Haegerich, & Roger Chou, CDC Guideline for
Prescribing Opioids for Chronic Pain – United States, 2016, 65 Morbidity and


                                         30
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 46 of 194 PageID #: 67



      66.    Nonetheless, Manufacturer Defendants misrepresented the effects of

escalating dosages to further their relentless pursuit of corporate profit. The ability

to escalate dosages was critical to Manufacturer Defendants’ efforts to market

opioids for chronic pain treatment because doctors would otherwise abandon

treatment when patients built up tolerance and no longer obtained pain relief. And

for at least some products, escalation of dosage was key: of the seven available

OxyContin tablet strengths, the three strongest—40 milligrams (120 MME), 60

milligrams (180 MME), and 80 milligrams (240 MME)—all exceed the CDC limit

when taken twice per day as directed.

             Manufacturer Defendants’ Misleading Statements Were Designed
             for Maximum Effect and Targeted to Specific Audiences

      67.    Manufacturer Defendants disseminated these misstatements to doctors

through a wide array of sources, each designed to maximize impact and targeted to

a specific receptive audience.

      68.    Manufacturer Defendants often delivered their misstatements through

“opinion leaders”—doctors in the field of pain management who were heavily

funded by Manufacturer Defendants. Manufacturer Defendants frequently used

opinion leaders to deliver their message because they knew that doctors often place

great confidence in seemingly independent peers.


Mortality Weekly Report 1 (2016),
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.

                                          31
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 47 of 194 PageID #: 68



      69.   One notable opinion leader was Dr. Russell Portenoy, who held

himself out as an unbiased expert on opioids but received substantial funding from

Manufacturer Defendants. Dr. Portenoy gave, in his words, “innumerable”

lectures and media appearances promoting opioids.41 During these appearances, he

routinely downplayed the dangers of opioids. In 2010, he said on Good Morning

America that “[a]ddiction, when treating pain, is distinctly uncommon” and that

“most doctors can feel very assured that that person is not going to become

addicted.” He also regularly repeated—including in a 1986 paper published in the

journal of the American Pain Society, a 1996 paper written on behalf of the

American Pain Society and the American Academy of Pain, and numerous

lectures—the unsubstantiated claim that the addiction risk posed by opioids was

lower than one percent.42 Dr. Portenoy later conceded that some of his statements

were misleading. In December 2012, he was quoted as saying, “Did I teach about


41
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts,
The Wall Street Journal, Dec. 17, 2012,
https://www.wsj.com/articles/SB1000142412788732447830457817334265704460
4.
42
   Russell Portenoy, Chronic Use of Opioid Analgesics in Non-Malignant Pain:
Report of 38 cases, 25 Pain 171 (May 1986),
https://www.ncbi.nlm.nih.gov/pubmed/2873550; Russell Portenoy, Opioid
Therapy for Chronic Nonmalignant Pain: A review of the critical issues, 11 J. of
Pain and Symptom Mgmt. 203 (Apr. 1996), http://dx.doi.org/10.1016/0885-
3924(95)00187-5; Russell Portenoy, Opioid Therapy for Chronic Nonmalignant
Pain, 1 Pain Research and Mgmt. 17 (1996),
http://downloads.hindawi.com/journals/prm/1996/409012.pdf.


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 48 of 194 PageID #: 69



pain management, specifically about opioid therapy, in a way that reflects

misinformation? Well, . . . I guess I did.”43

      70.    Between 2001 and 2010, Purdue’s “In the Face of Pain” website

similarly presented the statements of opinion leaders who were portrayed as

independent experts, including Dr. Portenoy and other doctors associated with the

American Pain Foundation. The website not only failed to disclose that Purdue

had paid many of these opinion leaders for other work, but also did not identify

Purdue’s involvement beyond a small copyright notice at the bottom of the

website.44

      71.    Manufacturer Defendants also often disseminated their misstatements

through industry groups that presented themselves to the public as independent

patient advocacy organizations, but whose content and funding came largely from

Manufacturer Defendants. These groups included the American Pain Foundation,

the American Pain Society, and the American Academy of Pain Medicine. Much




43
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts,
The Wall Street Journal, Dec. 17, 2012,
https://www.wsj.com/articles/SB1000142412788732447830457817334265704460
4.
44
   Advocacy Voices, In the Face of Pain (archived Nov. 7, 2010),
https://web.archive.org/web/20101107090355/http://www.inthefaceofpain.com:80/
search.aspx?cat=4#7.


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 49 of 194 PageID #: 70



like the opinion leaders, these industry groups allowed Manufacturer Defendants to

present their misstatements as if they came from unbiased experts.

      72.    These groups published many of the misleading “guidelines”

described above, based on content and funding provided by Manufacturer

Defendants, including: (1) “Clinical Guidelines for the Use of Chronic Opioid

Therapy in Chronic Noncancer Pain” (2009);45 (2) “A Policymaker’s Guide to

Understanding Pain & Its Management” (2011);46 and (3) “Treatment Options: A

Guide for People Living with Pain” (2006).47 In 2007, the American Pain Society

repeated, at a Senate Judiciary Committee hearing, Manufacturer Defendants’

misstatements that addiction was a “rare problem” for patients using opioids for

chronic pain and that there was “no causal effect . . . between the marketing of [a

particular opioid] and the abuse and diversion of the drug.”48




45
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in
Chronic Noncancer Pain, 10 The J. of Pain 113 (Feb. 2009),
http://dx.doi.org/10.1016/j.jpain.2008.10.008.
46
   Am. Pain Found., A Policymaker’s Guide to Understanding Pain & Its
Management (Oct. 2011), http://s3.documentcloud.org/documents/277603/apf-
policymakers-guide.pdf.
47
   Am. Pain Found., Treatment Options: A guide for people living with pain
(2006), https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf.
48
   Evaluating the Propriety and Adequacy of the OxyContin Criminal Settlement:
Hearing Before the S. Comm. on Judiciary, 110th Cong. 1 (2007) (Statement of
James Campbell, M.D.).


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 50 of 194 PageID #: 71



      73.    Manufacturer Defendants also conducted conferences, training

sessions, and educational programs for doctors, often with all expenses paid at

resort destinations. These events were useful to Manufacturer Defendants because

studies show that such events influence the attending practitioners’ prescribing

habits and views towards a drug.49

      74.    From 1996 to 2001, Purdue conducted more than 40 pain management

and speaker training sessions at resorts to recruit and train physicians, nurses, and

pharmacists as speakers on behalf of Purdue.50 Purdue trained more than 5,000

people at these all-expenses-paid events.51 In addition, the DEA has estimated that

Purdue funded over 20,000 opioid pain-related educational programs between

1996 and July 2002 through direct sponsorship or financial grants.52




49
   Ray Moynihan, Doctors’ Education: The invisible influence of drug company
sponsorship, 336 The BMJ 416 (Feb. 23, 2008),
http://dx.doi.org/10.1136/bmj.39496.430336.DB; A.C. Anand , Professional
Conferences, Unprofessional Conduct, 67 Medical J. Armed Forces India 2 (Jan.
2011), http://dx.doi.org/10.1016/S0377-1237(11)80002-X; David McFadden et al.,
The Devil Is in the Details: The pharmaceutical industry’s use of gifts to
physicians as marketing strategy, 140 J. of Surgical Research 1 (2007),
http://dx.doi.org/10.1016/j.jss.2006.10.010.
50
   U.S. Go’t Accountability Office, Prescription Drugs: OxyContin abuse and
diversion and efforts to address the problem (Dec. 2003),
https://www.gpo.gov/fdsys/pkg/GAOREPORTS-GAO-04-110/content-detail.html.
51
   Id.
52
   Id.


                                          35
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 51 of 194 PageID #: 72



      75.    Manufacturer Defendants also used direct salesmen to market opioids.

These salesmen often received the majority of their compensation based on

individual sales figures, ensuring that they were strongly motivated to present their

audiences with misleading information minimizing the risks of opioids.53

      76.    Manufacturer Defendants not only issued misstatements through

channels thought to be the most productive, but also targeted marketing to doctors

who would be most receptive to the misstatements.

      77.    Manufacturer Defendants specifically targeted their marketing to

primary care physicians, who are generally less aware of the medical literature

regarding the dangers of treating chronic pain with opioids. One longtime Purdue

collaborator speaking to an FDA advisory panel on January 30, 2002

acknowledged this fact, stating that “[g]eneralists are adopting [opioid] therapy

without adequate knowledge of pain management principles.”54 On information

and belief, Manufacturer Defendants also directly targeted susceptible patients like

veterans and the elderly.

      78.    Manufacturer Defendants developed methods to target specifically

physicians who were already prescribing higher-than-average numbers of opioids.



53
  Id.
54
  Food and Drug Admin., Anesthetic and Life Support Drugs Advisory Comm.,
Tr. of Meeting (Jan. 30, 2002),
https://www.fda.gov/ohrms/dockets/ac/02/transcripts/3820t1.pdf.

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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 52 of 194 PageID #: 73



Purdue created a database to identify physicians with large numbers of chronic-

pain patients (which also showed which physicians were simply the most frequent

prescribers of opioids). This database has given Purdue extensive knowledge of

where and how its drugs are being used across the country, including in Delaware,

and has allowed Purdue to target doctors already susceptible to its message.55

            Manufacturer Defendants Knew or Should Have Known That
            Their Statements Were Misleading

      79.   The problems engendered by the deceptive and unfair marketing of

opioids were specifically known by Manufacturer Defendants. Manufacturer

Defendants were aware that their statements were misleading not only because

they knew their statements were contrary to established fact, but also because they

were fined and otherwise sanctioned by various government entities for their

misleading marketing.

      80.   In 2007, Purdue settled federal allegations that it had introduced

misbranded drugs into interstate commerce. The settlement included over

$700 million in payments to the United States and guilty pleas by three of Purdue’s

former executive officers.56 Purdue acknowledged that “some employees made, or


55
   Art Van Zee, The Promotion and Marketing of OxyContin: Commercial triumph,
public health tragedy, 99 Am. J. of Public Health 221, 222 (Feb. 2009),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/pdf/221.pdf.
56
   Plea Agreement at 4, United States of America v. The Purdue Frederick Co.,
Inc., Case No. 1:07-cr-00029-JPJ (W.D. Va. May 10, 2017).


                                        37
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 53 of 194 PageID #: 74



told other employees to make, certain statements about OxyContin to some

healthcare professionals that were inconsistent with the FDA-approved prescribing

information for OxyContin and the express warning it contained about risks

associated with the medicine.”57

      81.    On August 20, 2015, New York State concluded a multiyear

investigation of Purdue and settled claims against the company related to its

marketing and sales practices. Specifically, the agreement required Purdue to

ensure that its sales representatives flag doctors and other professionals who were

improperly prescribing and/or diverting opioids, stop calling and/or marketing to

doctors on the company’s “no-call list,” and provide information to health care

providers about FDA-approved training programs regarding the appropriate

prescription of opioids. The agreement also required Purdue to and cease

marketing representations on its website “www.inthefaceofpain.com” implying

that the website was neutral or unbiased, and to disclose the financial relationship

Purdue’s purported neutral experts have with the company.58



57
   Shannon Henson, Purdue, Employees to Pay $700M in OxyContin Case,
LAW360, (May 10, 2007, 12:00
AM), https://www.law360.com/illinois/articles/24509/purdue-employees-to-pay-
700m-in-oxycontin-case.
58
   Press Release, N.Y. State Office of the Attorney General, A.G. Schneiderman
Announces Settlement With Purdue Pharma That Ensures Responsible And
Transparent Marketing Of Prescription Opioid Drugs By The Manufacturer


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 54 of 194 PageID #: 75



      82.    In August 2017, Purdue settled, for over $20 million, claims by

numerous Canadian plaintiffs that the company failed to warn about the dangers of

OxyContin, including its addictive properties.59

      83.    In 2016, Endo settled claims with New York State and agreed to halt

misleading advertisements it had been running there concerning the safety of

opioids. New York State had found that opioid use disorders “appear to be highly

prevalent in chronic pain patients treated with opioids, with up to 40% of chronic

pain patients treated in specialty and primary care outpatient centers meeting the

clinical criteria for an opioid use disorder.”60 Endo had claimed on its website that

“[m]ost healthcare providers who treat patients with pain agree that patients treated

with prolonged opioid medicines usually do not become addicted,” but New York

State found that Endo had no evidence for that statement.61 Consistent with this

finding, Endo agreed not to make statements in New York that opioids “generally




(August 20, 2015), https://ag.ny.gov/press-release/ag-schneiderman-announces-
settlement-purdue-pharma-ensures-responsible-and-transparent.
59
   See Will Davidson LLP, Purdue Pharma Agrees to OxyContin Settlement, but Is
it Fair?, Lexology (Aug. 22, 2017),
https://www.lexology.com/library/detail.aspx?g=d53ee1ee-44cb-4ef5-b916-
e570a385b568.
60
   Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15
at 7, In re Endo Health Solutions Inc., No. 15-228 (Attorney General of the State
of N.Y. 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
61
   Id.


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 55 of 194 PageID #: 76



are non-addictive” or “that most patients who take opioids do not become

addicted.”62

      84.      Manufacturer Defendants have also represented to the public that they

are taking steps to curb the opioid epidemic, rather than creating it.

               a.    As recently as November 2017, Purdue stated on its website

that “. . . too often these medications [opioids] are diverted, misused, and abused.

Teenagers, in particular, are vulnerable to prescription drug abuse, which has

become a national epidemic.”63 In response to the misuse of opioids, Purdue said

that “Corporations have a responsibility to address this issue, and Purdue has

dedicated vast resources for helping to prevent drug abuse . . . .”64

               b.    Purdue also stated in November 2017 that it is “committed to

being part of the solution to prescription drug abuse” and that it “offers an array of

programs focused on education, prevention, and deterrence and through

partnerships with (1) healthcare professionals, (2) families and communities, and

(3) law enforcement and government” to combat the “widespread abuse of opioid




62
   Id.
63
   Purdue Pharma, Combating Opioid Abuse,
http://www.purduepharma.com/healthcare-professionals/responsible-use-of-
opioids/combating-opioid-abuse/ (last visited Nov. 07, 2017).
64
   Id.


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 56 of 194 PageID #: 77



prescription pain medications [that] can lead to tragic consequences, including

addiction, overdose, and death.”65

             c.     Also in November 2017, Purdue discussed the opioid epidemic

and its response to it, stating that “The nation is experiencing a public health crisis

involving licit and illicit opioids. Purdue endorses the following policies that

support a comprehensive approach to reducing addiction, abuse, diversion, and

overdose related to opioids.”66 Those policies employed by Purdue include

limiting the duration of one’s first opioid prescription; use of prescription drug

monitoring programs; requiring demonstrated competence for opioid prescribing;

and expanding the use of naloxone, an opioid reversal agent, among other things.

      85.    However, on information and belief, these representations are untrue.

For example, notwithstanding its public statements of corporate responsibility,

Purdue has failed to report to authorities illicit or suspicious prescribing of its

opioids, even as it has publicly and repeatedly touted its “constructive role in the




65
   Purdue Pharma, Responsible Use of Opioids,
http://www.purduepharma.com/patients-caregivers/responsible-use-of-opioids/
(last visited Nov. 07, 2017).
66
   Purdue Pharma, Public Policies to Address the Opioid Crisis,
http://www.purduepharma.com/about/purdue-pharma-public-policy/ (last visited
Nov. 07, 2017).


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 57 of 194 PageID #: 78



fight against opioid abuse” and “strong record of coordination with law

enforcement.”67

      86.    In 2012, Endo took the remarkable step of asserting that the FDA

should block generic versions of Endo’s Opana ER because the drug was

dangerously susceptible to abuse and misuse.68 Endo made no such assertions

before it faced financial competition regarding the drug.

      87.    Additionally, since at least 2002, Purdue has maintained a database of

health care providers suspected of inappropriately prescribing OxyContin or other

opioids. According to Purdue, physicians could be added to this database based on

observed indicators of illicit prescribing, such as excessive numbers of patients,

cash transactions, patient overdoses, and unusual prescribing volume. Purdue has

said publicly that “[o]ur procedures help ensure that whenever we observe

potential abuse or diversion activity, we discontinue our company’s interaction

with the prescriber or pharmacist and initiate an investigation.”69


67
   See Purdue Pharma L.P., Setting the Record Straight on OxyContin’s FDA-
Approved Label (May 5, 2016), http://www.purduepharma.com/news-media/get-
the-facts/setting-the-record-straight-on-oxycontins-fda-approved-label/; Purdue
Pharma L.P., Setting the Record Straight on Our Anti-Diversion Programs (July
11, 2016), http://www.purduepharma.com/news-media/get-the-facts/setting-the-
record-straight-on-our-anti-diversion-programs/.
68
   See David Heath, Drugmaker Set to Profit From an Opioid it Said Was Unsafe,
CNN (Oct. 30, 2017), http://www.cnn.com/2017/10/30/health/opana-endo-opioid-
profit/index.html.
69
   Id.


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 58 of 194 PageID #: 79



      88.    Yet, according to a 2016 investigation by the Los Angeles Times,

Purdue failed to cut off these providers’ opioid supply at the pharmacy level and

failed to report these providers to state medical boards or law enforcement —

meaning Purdue continued to generate sales revenue from their prescriptions.70

      89.    The Time’s investigation also found that “for more than a decade,

Purdue collected extensive evidence suggesting illegal trafficking of OxyContin”

and yet consistently failed to report suspicious dispensing or to stop supplies to the

pharmacy.71 Despite its knowledge of illicit prescribing, Purdue did not report its

suspicions, for example, until years after law enforcement shut down a Los

Angeles clinic that Purdue’s district manager described internally as “an organized

drug ring” and that had prescribed more than 1.1 million OxyContin tablets.72

             Manufacturer Defendants’ Conduct Violated Their Duties

      90.    Manufacturer Defendants have continued to promote, directly and

indirectly, deceptive marketing messages that misrepresent, and fail to include

material facts about, the dangers of opioid usage in Delaware, despite actual or

constructive knowledge that the opioids were ultimately being consumed by

Delaware citizens for unsafe and non-medical purposes.


70
   See Harriet Ryan et al., More Than 1 Million OxyContin Pills Ended Up in the
Hands of Criminals and Addicts. What the Drugmaker Knew, L.A. Times, July 10,
2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.
71
   Id.
72
   Id.

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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 59 of 194 PageID #: 80



      91.    Manufacturer Defendants have negligently or recklessly failed to

control adequately the content and distribution of marketing materials and sales

efforts regarding opioids. A reasonably prudent manufacturer of opioids would

have anticipated the dangers of widely advertising and distributing dangerous

opioid products, and protected against it. A reasonably prudent manufacturer

could have (a) ensured physicians were judicious in considering when to prescribe

opioids; (b) carefully worded its marketing materials to ensure the risks of opioids

were clearly communicated; (c) conducted and publicized scientific studies testing

the risks of opioid products; (d) taken greater care in hiring, training, and

supervising employees responsible for marketing and selling opioid products;

(e) investigated demographic or epidemiological data concerning the increasing

demand for narcotic painkillers in Delaware and the linkage of that demand with

Manufacturer Defendants’ marketing efforts; and (f) followed applicable statutes,

regulations, professional standards, and guidance, as Manufacturer Defendants

agreed to do when settling prior actions against them.

      92.    On information and belief, Manufacturer Defendants failed to take

any of these steps to prevent their misrepresentations and omissions from

contributing to the opioid epidemic.




                                          44
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 60 of 194 PageID #: 81




IV.   DISTRIBUTOR DEFENDANTS AND PHARMACY DEFENDANTS
      HAVE LEGAL DUTIES TO PREVENT OPIOID DIVERSION

      93.   Each Distributor Defendant and each Pharmacy Defendant has a

common law duty to exercise reasonable care under the circumstances. In

addition, each Distributor Defendant and each Pharmacy Defendant assumes a

duty, when it speaks publicly about opioids, to speak accurately.

      94.   Moreover, Delaware and Federal laws and regulations impose duties

on Distributor Defendants and Pharmacy Defendants, and create a standard of

conduct to which Distributor Defendants and Pharmacy Defendants must adhere.

      95.   These statutes and regulations were designed to protect society from

the harms of drug diversion (which, as discussed above, occurs whenever the

supply chain of prescription opioids is broken and the drugs are transferred from a

legitimate channel to an illegitimate one) by creating a legal framework for

distributing and dispensing controlled substances and monitoring and controlling

them from manufacture through delivery to the patient. These statutes and

regulations include Delaware’s Uniform Controlled Substances Act (16 Del. C.

§§ 4701, et seq.), Uniform Controlled Substances Act Regulations (24 Del. Admin.

C. CSA 1.0 et seq.), and numerous professional regulations related to persons who

handle, prescribe, and dispense controlled substances, (collectively the “DE

CSA”). The DE CSA provides strict controls and requirements throughout the

opioid distribution chain. See 16 Del. C. §§ 4701 et seq. The Federal Controlled


                                        45
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 61 of 194 PageID #: 82



Substances Act (“FCSA”), 21 U.S.C. §§ 801 et seq., also strictly regulates the

manufacture, distribution, and sale of these drugs.

      96.     Delaware is not asserting a cause of action under these laws. But

just as a driver’s violation of a speed limit can demonstrate that he acted

negligently, so, too, Distributor Defendants’ and Pharmacy Defendants’ violations

of Delaware and Federal laws and regulations show that they failed to meet the

relevant standard of care.

             Delaware and Federal Law Set a Standard of Care for Distributor
             Defendants to Follow

      97.    On information and belief, each Distributor Defendant distributes

opioids in the State of Delaware. In order to legally distribute drugs in the State of

Delaware, a distributor must hold a valid wholesale distribution license for each

facility from which it distributes drugs in the State.

      98.    Cardinal has no fewer than nine separate distribution facilities located

throughout the country that hold Delaware licenses as wholesale drug distribution

facilities. Cardinal has used some or all of those facilities to distribute opioids in

the State of Delaware.

      99.    McKesson has no fewer than 18 separate distribution facilities located

throughout the country that hold Delaware licenses as wholesale drug distribution

facilities. On information and belief, McKesson has used some or all of those

facilities to distribute opioids in the State of Delaware.


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 62 of 194 PageID #: 83



      100. AmerisourceBergen has no fewer than seven separate distribution

facilities located throughout the country that hold Delaware licenses as wholesale

drug distribution facilities. On information and belief, AmerisourceBergen has

used some or all of those facilities to distribute opioids in the State of Delaware.

      101. Anda has no fewer than two separate distribution facilities located

throughout the country that hold Delaware licenses as wholesale drug distribution

facilities. On information and belief, Anda has used some or all of those facilities

to distribute opioids in the State of Delaware.

      102. H. D. Smith has no fewer than two separate distribution facilities

located throughout the country that hold Delaware licenses as wholesale drug

distribution facilities. H. D. Smith has used some or all of those facilities to

distribute opioids in the State of Delaware.

             1.     Duties Under Delaware Laws and Regulations

      103. The DE CSA requires distributors of controlled substances to take

precautions to ensure a safe system for distribution of controlled substances,

including opioids, and to prevent diversion of those controlled substances into

illegitimate channels.

      104. Delaware law requires any distributor that engages in activities related

to controlled substances to register biennially with the Secretary of the Department

of State. 16 Del. C. § 4732.



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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 63 of 194 PageID #: 84



      105. To obtain and maintain a permit to distribute opioids in the State,

Distributor Defendants must, among other things, “establish, maintain, and adhere

to written policies and procedures for: identifying, recording, and reporting losses

or thefts” and have written policies and procedures for “reporting criminal or

suspected criminal activities involving the inventory of a drug or drugs.” 24 Del.

Admin. C. § 2500-8.

             2.    Duties Under Federal Laws and Regulations

      106. Like the DE CSA, the FCSA sets the standard of conduct to which

Distributor Defendants must adhere. Also like the DE CSA, the FCSA requires all

opioid distributors to maintain effective controls against opioid diversion and to

employ a system to identify and report to law enforcement suspicious orders of

controlled substances.

      107. Distributor Defendants must report transaction data to the DEA on

each acquisition or reduction of inventory, as well as any lost or stolen inventory.

Distributor Defendants must also maintain a complete and accurate record of each

substance manufactured, sold, delivered, or otherwise disposed of. See 21 U.S.C.

§ 827(a).

      108. Importantly, Distributor Defendants must employ a system to inform

the DEA of suspicious orders. See 21 C.F.R. § 1301.74(b).




                                         48
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 64 of 194 PageID #: 85



      109. The DEA’s Automation of Reports and Consolidation Orders System

(“ARCOS”) accumulates data on distributors’ controlled substances transactions,

which are then summarized into reports used by the DEA to identify any diversion

of controlled substances into illicit channels of distribution. See 21 C.F.R.

§ 1304.33.

             Delaware and Federal Law Set a Standard of Care for Pharmacy
             Defendants to Follow

      110. The DE CSA and FCSA also impose specific obligations on

Pharmacy Defendants. These requirements, along with their related regulations

and agency interpretations, set a standard of care for pharmacy conduct.

      111. CVS has 19 retail locations in the State of Delaware. CVS also has

two wholesale distribution centers that are registered to ship into the State.

      112. Walgreens has 65 retail locations in the State of Delaware.

             1.     Duties Under Delaware Laws and Regulations

      113. The DE CSA imposes specific obligations on Pharmacy Defendants.

      114. The DE CSA requires pharmacies to take precautions to ensure a safe

system for distribution of controlled substances, including opioids, and to prevent

diversion of those controlled substances into illegitimate channels. See, e.g.,

16 Del. C. § 4735(b)(1) (“The Secretary, after due notice and hearing may limit,

suspend, fine or revoke the registration of any registrant who . . . (b) Has failed to




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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 65 of 194 PageID #: 86



maintain effective controls against diversion of controlled substances into other

than legitimate medical, scientific or industrial channels . . .”).

      115. The State of Delaware also has sought to curb the diversion of opioids

and other potentially dangerous drugs through the creation of the Delaware

Prescription Monitoring Program (“PMP”). The PMP is a reporting system that

monitors the flow of controlled substances, including opioids, within Delaware. It

is an electronic program that aggregates the data submitted by dispensers of

opioids and other controlled substances within Delaware.

      116. The PMP shall be used, according to the statute, (a) to provide

information to prescribers, dispensers, and patients to help avoid the illegal use of

controlled substances; (b) to assist law enforcement to investigate illegal activity

related to the prescribing, dispensing, and consumption of controlled substances;

and (c) to minimize inconvenience to patients and prescribing practitioners while

effectuating the collection and storage of prescription monitoring information.

16 Del. C. § 4798(c).

      117. The PMP requires dispensers to submit certain information about each

dispensation of opioids. Id. § 4798(d). The PMP can be aggregated and

summarized, allowing the information to be used by law enforcement, the Office

of Controlled Substances, or the Secretary of State to identify and prevent

diversion.



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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 66 of 194 PageID #: 87



      118. Delaware regulations require that prescriptions for controlled

substances must be issued for a legitimate medical purpose in the usual course of

professional practice. The regulations provide that “[a]n order purporting to be a

prescription not issued in the usual course of professional treatment or in legitimate

and authorized research is not a prescription within the meaning and intent of

§ 4738 of the Act and the person knowingly filling such a purported prescription

. . . shall be subject to the penalties provided for violation of the provisions of law

relating to controlled substances.” 24 Del. Admin. C. § 42.1.

      119. Moreover, a pharmacist is required to verify that the practitioner

prescribing the controlled substance is registered to do so under Federal law and to

verify the identity of the individual receiving the controlled substances through the

presentation of one of a number of specified forms of identification. 24 Del.

Admin. C. § 4.10.

      120. Thus, under Delaware law, “[w]hen a [pharmacy] has a reasonable

belief that a patient may be seeking a controlled substance [including opioids] for

any reason other than the treatment of an existing medical condition, the dispenser

shall obtain a patient utilization report regarding the patient for the preceding

12 months from the [PMP] before dispensing the prescription.” 16 Del. C.

§ 4798(e).




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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 67 of 194 PageID #: 88



      121. Delaware professional regulations state that a pharmacist that

knowingly engages in any activity which violates State and Federal laws and

regulations governing the practice of pharmacy, like those described above, may

merit discipline. 24 Del. Admin. C. § 2500-2.0.

      122. Additionally, Delaware regulations require that pharmacists maintain

a patient profile record system for all persons to whom prescriptions are dispensed.

24 Del. Admin. C. § 2500-5.1.10.

      123. As set forth in these statutes and regulations, pharmacists are the last

line of defense in keeping drugs from entering the illicit market. Pharmacists are

meant to be the drug experts in the healthcare delivery system and, as such, have

considerable duties and responsibility in the oversight of patient care. They cannot

blindly fill prescriptions written by a doctor, even one legally registered to

dispense opioids, if the prescription is not for a legitimate medical purpose.

             2.     Duties Under Federal Laws and Regulations

      124. The FCSA requires pharmacists to review each controlled substance

prescription and, prior to dispensing medication, make a professional

determination that the prescription is effective and valid.

      125. Under the FCSA, pharmacy registrants are required to “provide

effective controls and procedures to guard against theft and diversion of controlled

substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a)



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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 68 of 194 PageID #: 89



states, “[t]he responsibility for the proper prescribing and dispensing of controlled

substances is upon the prescribing practitioner, but a corresponding responsibility

rests with the pharmacist who fills the prescription.” (Emphasis added.)

      126. Therefore, pharmacists are required to ensure that prescriptions for

controlled substances are valid, and that they are issued for a legitimate medical

purpose by an individual practitioner who is approved and registered with the DEA

to write prescriptions for opioids acting in the usual course of his professional

practice.

      127. The DEA has informed pharmacists that “[a]n order purporting to be a

prescription issued not in the usual course of professional treatment or in legitimate

and authorized research is an invalid prescription.”73 Filling such a prescription is

illegal. As the DEA states, “The law does not require a pharmacist to dispense a

prescription of doubtful, questionable, or suspicious origin. To the contrary, the

pharmacist who deliberately ignores a questionable prescription when there is

reason to believe it was not issued for a legitimate medical purpose may be

[criminally] prosecuted.”74




73
    Michele Leonhart et al., Pharmacist’s Manual: An informational outline of the
controlled substances act, Drug Enf’t Admin., Diversion Control Div. (Revised
2010), https://www.deadiversion.usdoj.gov/pubs/manuals/pharm2/.
74
   Id.

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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 69 of 194 PageID #: 90



      128. Questionable or suspicious prescriptions include (a) prescriptions

written by a doctor who writes significantly more prescriptions (or in larger

quantities) for controlled substances than other practitioners in the area;

(b) prescriptions which should last for a month in legitimate use, but are refilled

more frequently; (c) simultaneous prescriptions for antagonistic drugs, such as

depressants and stimulants; (d) prescriptions that look “too good” or where the

prescriber’s handwriting is too legible; (e) prescriptions with atypical quantities or

dosages; (f) prescriptions that do not comply with standard abbreviations and/or

contain no abbreviations; (g) photocopied prescriptions; or (h) prescriptions

containing different handwritings. Most of the time, these questionable or

suspicious attributes are not difficult to detect or recognize; they should be

apparent to an adequately trained pharmacist.

      129. Pharmacists are also instructed to be suspicious of signs that a

customer is seeking to divert opioids, including customers who (a) appear to be

returning too frequently; (b) are seeking to fill a prescription written for a different

person; (c) appear at the pharmacy counter simultaneously, or within a short time,

all bearing similar prescriptions from the same physician; (d) are not regular

patrons or residents of the community, and present prescriptions from the same

physician; (e) drive long distances to have prescriptions filled; (f) seek large

volumes of controlled substances in the highest strength in each prescription;



                                           54
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 70 of 194 PageID #: 91



(g) seek a combination of other drugs with opioids such as tranquilizers and muscle

relaxers that can be used to create an “opioid cocktail”; and (h) pay large amounts

of cash for their prescriptions rather than using insurance. Ignoring these

suspicious signs violates industry standards and DEA guidelines and is illegal

under multiple laws.

      130. Other “red flags” that should alert a pharmacist to potential diversion

include (a) prescriptions that lack the technical requirements of a valid

prescription, such as a verifiable DEA number and signature; (b) prescriptions

written in excess of the amount needed for proper therapeutic purposes;

(c) prescriptions obtained through disreputable or illegal web-based pharmacies;

and (d) patients receiving multiple types of narcotic painkillers on the same day.

      131. Each prescriber of controlled substances is issued a number

identification by the DEA and must sign each prescription. Industry standards

require pharmacists to contact the prescriber for verification or clarification

whenever there is a question about any aspect of a prescription order. If a

pharmacist believes the prescription is forged or altered, he or she should not fill it,

but instead should call the local police. If a pharmacist believes he or she has

discovered a pattern of prescription abuse, the local Board of Pharmacy and the

DEA must be contacted.




                                          55
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 71 of 194 PageID #: 92




V.    DISTRIBUTOR DEFENDANTS AND PHARMACY DEFENDANTS
      HAVE FAILED TO FULFILL THEIR DUTIES

             Distributor Defendants Understood Their Duties and Violated
             Them Anyway

             1.     Distributor Defendants Understood and Acknowledged
                    Their Duties

      132. In addition to the Delaware and Federal law and regulations regarding

controlled substances, Distributor Defendants received detailed, specific

instructions for identifying and minimizing the risk of opioid diversion in their

supply chains.

      133. To combat the problem of opioid diversion, the DEA has provided

readily-available guidance to distributors on the requirements of suspicious order

reporting.

      134. Since 2006, the DEA has briefed distributors regarding legal,

regulatory, and due diligence responsibilities. During these briefings, the DEA

pointed out the red flags distributors should look for to identify potential diversion.

      135. Since 2007, the DEA has hosted at least five conferences to provide

registrants with updated information about diversion trends and regulatory changes




                                          56
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 72 of 194 PageID #: 93



that affect the drug supply chain and suspicious order reporting.75 All of the major

distributors attended at least one of these conferences.

      136. On September 27, 2006, and again on December 27, 2007, the DEA

Office of Diversion Control sent letters to all registered distributors providing

guidance on suspicious order monitoring of controlled substances and the

obligations of the distributor to conduct due diligence on controlled substance

customers as part of a program to maintain effective controls against diversion.76

      137. The September 27, 2006, letter reminded distributors of their legal

obligation to use due diligence to avoid filling orders that may be diverted into the

illicit market. The letter explained that each distributor is required to exercise due

care in confirming the legitimacy of all orders. It also described circumstances that

could be indicative of diversion, including ordering (a) excessive quantities of a

limited variety of controlled substances while ordering few if any other drugs; (b) a

disproportionate ratio of controlled substances to non-controlled prescription



75
   Drug Enf’t Admin., Distributor Conferences,
https://www.deadiversion.usdoj.gov/mtgs/distributor/index.html; Drug Enf’t
Admin., Manufacturer Conferences,
https://www.deadiversion.usdoj.gov/mtgs/man_imp_exp/index.html; Drug Enf’t
Admin., National Conference on Pharmaceutical and Chemical Diversion,
https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/index.html; Drug Enf’t
Admin., Diversion Awareness Conferences,
https://www.deadiversion.usdoj.gov/mtgs/pharm_awareness/index.html.
76
   Masters Pharmaceuticals, Inc.; Decision and Order, 80 Fed. Reg. 55,418, 55,421
(Drug Enf’t Admin. Sept. 15, 2015) (Docket No. 13-39).

                                          57
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 73 of 194 PageID #: 94



drugs; (c) excessive quantities of a limited variety of controlled substances in

combination with certain other drugs; and (d) the same controlled substance from

multiple distributors.

      138. The December 27, 2007, letter reminded distributors that suspicious

orders must be reported when discovered and that monthly transaction reports of

excessive purchases did not meet the regulatory criteria for suspicious order

reporting. The letter also advised distributors that they must independently analyze

a suspicious order before the sale to determine if the controlled substances would

likely be diverted and that filling a suspicious order and then completing the sale

does not absolve the distributor from legal responsibility.

      139. Distributor Defendants were on notice that their own industry group,

the Healthcare Distribution Management Association (“HDMA”), published

Industry Compliance Guidelines, entitled “Reporting Suspicious Orders and

Preventing Diversion of Controlled Substances,” that stressed the critical role of

each member of the supply chain in distributing controlled substances.77

      140. These industry guidelines further explained that, by being “[a]t the

center of a sophisticated supply chain, distributors are uniquely situated to perform


77
   Healthcare Distrib. Mgmt. Ass’n (HDMA) Industry Compliance
Guidelines: Reporting suspicious orders and preventing diversion of controlled
substances, filed in Cardinal Health, Inc. v. Holder, No. 12-5061 (D.C. Cir. Mar.
7, 2012), Doc. No. 1362415 (App’x B at 1).


                                         58
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 74 of 194 PageID #: 95



due diligence in order to help support the security of controlled substances they

deliver to their customers.”78

      141. Opioid distributors have themselves recognized the magnitude of the

problem and, at least rhetorically, their legal responsibilities to prevent diversion.

They have made statements assuring the public they recognize their duty to curb

the opioid epidemic.

      142. One of Cardinal’s executives recently claimed that Cardinal uses

“advanced analytics” to monitor its supply chain; Cardinal assured the public it

was being “as effective and efficient as possible in constantly monitoring,

identifying, and eliminating any outside criminal activity.”79

      143. McKesson has publicly stated that it has a “best-in-class controlled

substance monitoring program to help identify suspicious orders” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”80

      144. At the very least, these assurances about constantly eliminating

criminal activity from the supply chain and curbing the opioid epidemic created a




78
   Id.
79
   Lenny Bernstein et al., How Drugs Intended for Patients Ended up in the Hands
of Illegal Users: ‘No one was doing their job’, The Washington Post (Oct. 22,
2016), http://wapo.st/2vCRGLt.
80
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as
the Agency Tried to Curb Opioid Abuse, The Washington Post (Dec. 22, 2016),
http://wapo.st/2uR2FDy.

                                          59
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 75 of 194 PageID #: 96



duty for Distributor Defendants to act reasonably by following through on their

assurances.

              2.   Prior Regulatory Actions Against Distributor Defendants
                   for Failing to Prevent Diversion

      145. Despite knowing the risks of diversion and their broad assurances to

regulators, states, and the public, Distributor Defendants have recklessly or

negligently allowed diversion. Their misconduct has resulted in numerous civil

fines and other penalties recovered by government agencies—including actions by

the DEA related to violations of the FCSA.

                   a.     Cardinal

      146. Cardinal has paid a millions of dollars in multiple DEA and state

actions relating to its improper management and distribution of opioids to

pharmacies across the United States.

      147. In 2008, Cardinal paid a $34 million penalty to settle allegations about

opioid diversion taking place at seven warehouses around the United States.81

These allegations included failing to report to the DEA thousands of suspicious




81
  Press Release, U.S. Attorney’s Office Dist. of Colo., Cardinal Health Inc.,
Agrees to Pay $34 Million to Settle Claims that it Failed to Report Suspicious
Sales of Widely-Abused Controlled Substances (Oct. 2, 2008),
https://www.justice.gov/archive/usao/co/news/2008/October08/10_2_08.html.


                                         60
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 76 of 194 PageID #: 97



orders of hydrocodone that Cardinal then distributed to pharmacies that filled

illegitimate prescriptions originating from rogue Internet pharmacy websites.

      148. In 2012, Cardinal reached another settlement with the DEA relating to

systemic opioid diversion in its Florida distribution center.82 Cardinal’s Florida

center received a two-year license suspension for supplying more than 12 million

dosage units to only four area pharmacies, nearly 50 times as much oxycodone as it

shipped to the rest of Florida and an increase of 241% in only two years. The DEA

found that Cardinal’s own investigator warned Cardinal against selling opioids to

these pharmacies but that Cardinal did nothing to notify the DEA or cut off the

supply of drugs to the suspect pharmacies. Instead, Cardinal’s opioid shipments to

the pharmacies increased.

      149. In December 2016, Cardinal again settled charges that it had violated

the FCSA, this time for $44 million.83 The settlement covered DEA allegations

that Cardinal had failed to report suspicious orders across Washington, Maryland,

New York, and Florida. The same Florida distribution center at the heart of the



82
   Press Release, Drug Enf’t Admin., DEA Suspends for Two Years
Pharmaceutical Wholesale Distributor’s Ability to Sell Controlled Substances from
Lakeland, Florida Facility (May 15, 2012),
https://www.dea.gov/pubs/pressrel/pr051512.html.
83
   Press Release, U.S. Attorney’s Office Dist. of Md., Cardinal Health Agrees to
$44 Million Settlement for Alleged Violations of Controlled Substances Act (Dec.
23, 2016), https://www.justice.gov/usao-md/pr/cardinal-health-agrees-44-million-
settlement-alleged-violations-controlled-substances-act.

                                         61
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 77 of 194 PageID #: 98



2012 settlement was again implicated in this case. The settlement also covered a

Cardinal subsidiary, Kinray, LLC, which did not report a single suspicious order

regarding its shipments of oxycodone and hydrocodone to more than 20 New

York-area pharmacy locations that placed unusually high orders of controlled

substances at an unusually frequent rate. Cardinal Health d/b/a Kinray is a

licensed wholesale drug distributor in Delaware and, on information and belief,

distributes opioids in the State.

      150. In January 2017, Cardinal paid $20 million to settle allegations by

West Virginia that Cardinal had shipped increasing amounts of opioids to

numerous counties without utilizing proper controls, in essence benefitting from

West Virginia’s problem with prescription opioid abuse.84

                    b.     McKesson

      151. McKesson has agreed to pay over $163 million to resolve government

charges regarding diversion.

      152. In May 2008, McKesson entered into a settlement agreement with the

DEA to settle claims that McKesson had failed to maintain effective controls




84
  Eric Eyre, 2 Drug Distributors to Pay $36M to Settle WV Painkiller Lawsuits,
Charleston Gazette-Mail (Jan. 9, 2017), http://www.wvgazettemail.com/news-
cops-and-courts/20170109/2-drug-distributors-to-pay-36m-to-settle-wv-painkiller-
lawsuits.


                                        62
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 78 of 194 PageID #: 99



against diversion of controlled substances.85 McKesson allegedly failed to report

suspicious orders from rogue Internet pharmacies around the country, resulting in

millions of doses of controlled substances being diverted. McKesson agreed to pay

a $13.25 million civil fine.

      153. Following the 2008 settlement, McKesson was supposed to change its

ways and fix its flawed processes to prevent opioid diversion. But it did not do so.

It was later revealed that McKesson’s system for detecting “suspicious orders”

from pharmacies was so ineffective and dysfunctional that, in a five-year period, it

filled more than 1.6 million orders but reported just 16 orders as suspicious (all

from a single consumer). In early 2017, it was reported that McKesson had agreed

to pay $150 million to the government to settle certain opioid diversion claims that

it allowed drug diversion at 12 distribution centers in 11 states.86




85
   Press Release, U.S. Attorney’s Office Dist. of Colo., McKesson Corporation
Agrees to Pay More than $13 Million to Settle Claims that it Failed to Report
Suspicious Sales of Prescription Medications (May 2, 2008),
https://www.justice.gov/archive/usao/co/news/2008/May08/5_2b_08.html.
86
   Press Release, U.S. Dep’t of Justice, McKesson Agrees to Pay Record $150
Million Settlement for Failure to Report Suspicious Orders of Pharmaceutical
Drugs (Jan. 17, 2017), https://www.justice.gov/opa/pr/mckesson-agrees-pay-
record-150-million-settlement-failure-report-suspicious-orders.


                                          63
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 79 of 194 PageID #: 100




                     c.     AmerisourceBergen

       154. AmerisourceBergen has paid $16 million in settlements and had

 certain licenses revoked as a result of allegations related to the diversion of

 prescription opioids.

       155. In 2007, AmerisourceBergen lost its license to send controlled

 substances from a distribution center amid allegations that it was not controlling

 shipments of prescription opioids to Internet pharmacies.87 Again in 2012,

 AmerisourceBergen was implicated for failing to protect against diversion of

 particular controlled substances into non-medically necessary channels.88

       156. In January 2017, AmerisourceBergen paid the State of West Virginia

 $16 million to settle allegations that it knowingly shipped increasing amounts of

 opioids without sufficient monitoring or control, facilitating six-fold increases in

 opioid consumption in some counties.89 AmerisourceBergen was part of a drug


 87
    Press Release, AmerisourceBergen, AmerisourceBergen Signs Agreement with
 DEA Leading to Reinstatement of Its Orlando Distribution Center’s Suspended
 License to Distribute Controlled Substances (June 22, 2007),
 http://investor.amerisourcebergen.com/news-releases/news-release-
 details/amerisourcebergen-signs-agreement-dea-leading-reinstatement-its.
 88
    Jeff Overley, AmerisourceBergen Subpoenaed by DEA Over Drug Diversion,
 LAW360 (Aug. 9, 2012),
 https://www.law360.com/articles/368498/amerisourcebergen-subpoenaed-by-dea-
 over-drug-diversion.
 89
    Eric Eyre, 2 Drug Distributors to Pay $36M to Settle WV Painkiller Lawsuits,
 Charleston Gazette-Mail (Jan. 9, 2017), http://www.wvgazettemail.com/news-
 cops-and-courts/20170109/2-drug-distributors-to-pay-36m-to-settle-wv-painkiller-
 lawsuits.

                                           64
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 80 of 194 PageID #: 101



 supply chain that included doctors who wrote prescriptions for non-medical

 purposes and “pill mill” pharmacies that dispensed excessive numbers of

 painkillers. In addition to the monetary settlement, AmerisourceBergen agreed to

 adhere to stricter reporting guidelines within West Virginia.

              3.     Despite Prior Regulatory Actions, Distributor Defendants
                     Violated Their Duties in Delaware

       157. Despite being penalized by law enforcement authorities, Distributor

 Defendants Cardinal, McKesson, and AmerisourceBergen have not changed their

 conduct. Rather, they have treated fines as a cost of doing business in an industry

 that generates billions of dollars in revenue.

       158. All of the Distributor Defendants have engaged in a consistent,

 nationwide pattern and practice of illegally distributing opioids. That pattern and

 practice has also affected the State of Delaware and its citizens.

       159. In fact, Distributor Defendants have supplied and continue to supply

 quantities of prescription opioids in and around Delaware with the actual or

 constructive knowledge that the opioids were ultimately being consumed by

 Delaware citizens for non-medical purposes. Many of these shipments should

 have been stopped or investigated as suspicious orders, but Distributor Defendants

 negligently or recklessly failed to do so.

       160. Each Distributor Defendant knew, or should have known, that the

 amount of opioids that it allowed to flow into Delaware was far in excess of what


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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 81 of 194 PageID #: 102



 could be consumed for medically-necessary purposes in the relevant communities

 (especially given that each Distributor Defendant knew it was not the only opioid

 distributor servicing those communities).

       161. Distributor Defendants negligently or recklessly failed to control their

 supply lines to prevent diversion. A reasonably-prudent distributor of controlled

 substances would have anticipated the danger of opioid diversion and protected

 against it by, for example (a) taking greater care in hiring, training, and supervising

 employees; (b) providing greater oversight, security, and control of supply

 channels; (c) looking more closely at the pharmacists and doctors who were

 purchasing large quantities of commonly-abused opioids in amounts much greater

 than appropriate, given the size of the local populations; (d) investigating

 demographic or epidemiological facts concerning the increasing demand for

 narcotic painkillers in and around Delaware; (e) informing pharmacies and retailers

 about opioid diversion; and (f) in general, simply following applicable statutes,

 regulations, professional standards, and guidance from government agencies.

       162. On information and belief, Distributor Defendants made little to no

 effort to visit the pharmacies servicing Delaware to perform due diligence

 inspections to ensure that the controlled substances Distributor Defendants had

 furnished were not being diverted to illegal uses.




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Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 82 of 194 PageID #: 103



         163. On information and belief, the compensation Distributor Defendants

 provided to certain of their employees was affected, in part, by the volume of their

 sales of opioids to pharmacies and other facilities servicing Delaware, thus

 improperly creating incentives that contributed to and exacerbated opioid diversion

 and the resulting epidemic of opioid abuse.

         164. Under Title 24 of the Delaware Administrative Code Section 2500-

 8.0, wholesale distributors of prescription drugs are required to “[m]aintain records

 of sources of the drugs, the identity and quantity of the drugs received and

 distributed or disposed of, and the date of receipt and distribution or other

 disposition of the drugs.” Distributors are further required to “[h]ave records

 available for inspection and photocopying by the authorized federal, state, or local

 law enforcement agency officials for a period of three (3) years following the

 disposition of the drugs. Records shall be kept at the inspection site or must be

 immediately retrievable by computer or other electronic means.”

         165. Each of the Distributor Defendants holds at least one Delaware license

 as a wholesale drug distributor pursuant to Title 24 of the Delaware Administrative

 Code.

         166. In November 2017, pursuant to Title 24 of the Delaware

 Administrative Code, the State requested access to records of transactions in five

 specific opioid drugs from Distributor Defendants. Distributor Defendants



                                           67
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 83 of 194 PageID #: 104



 McKesson, AmerisourceBergen, and Anda have not produced records in response

 to those requests.

       167. Cardinal did not make records immediately available in response to

 the State’s request. Cardinal did make some records available more than seven

 weeks after they were required to have done so under Delaware law. Those

 records indicate that Cardinal had actual or constructive knowledge that the opioids

 it distributed in Delaware were ultimately being used for non-medical purposes.

       168. H. D. Smith produced records in response to the State’s request, and

 those records indicate that H. D. Smith had actual or constructive knowledge that

 the opioids it distributed in Delaware were ultimately being used for non-medical

 purposes.

              Pharmacy Defendants Understood Their Duties and Violated
              Them Anyway

              1.      Pharmacy Defendants Understood and Acknowledged
                      Their Duties

       169. Pharmacy Defendants similarly had knowledge of not just the

 widespread public coverage of the prescription opioid epidemic, but also had

 industry-specific knowledge of the particular risks and harms from filling

 prescriptions for non-medical purposes and the resulting widespread opioid abuse.




                                         68
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 84 of 194 PageID #: 105



       170. The DEA,90 state pharmacy boards,91 and national industry

 associations92 have provided extensive guidance to pharmacists concerning their

 duties to the public. The guidance teaches pharmacists how to identify red flags,

 which indicate to the pharmacist that there may be a problem with the legitimacy

 of a prescription presented by a patient.93 The guidance also tells pharmacists how

 to resolve the red flags and what to do if the red flags are unresolvable.

       171. For instance, the industry guidance tells pharmacists how to recognize

 (a) stolen prescription pads; (b) prescription pads printed using a legitimate

 doctor’s name, but with a different call back number that is answered by an



 90
    Michele Leonhart et al., Pharmacist’s Manual: An informational outline of the
 controlled substances act, Drug Enf’t Admin., Diversion Control Div. (Revised
 2010), https://www.deadiversion.usdoj.gov/pubs/manuals/pharm2/.
 91
    Tex. State Bd. Of Pharmacy, Abuse & Misuse of Prescription Drugs (last visited
 Aug. 11, 2017), https://www.pharmacy.texas.gov/SB144.asp; Fla. Bd. of
 Pharmacy, DEA Guidelines to Prescription Fraud (June 12, 2013),
 http://floridaspharmacy.gov/latest-news/dea-guidelines-to-prescription-fraud/; Va.
 Bd. of Pharmacy, Prescription Drug Abuse: Red flags for pharmacists and
 pharmacy technicians (Aug. 6, 2014), https://youtu.be/j5CkhirlZk8.
 92
    Philip Brummond et al., American Society of Health-Systems Pharmacists
 Guidelines on Preventing Diversion of Controlled Substances, 74 Am. J. of
 Health-Sys. Pharmacy e10 (Jan. 2017),
 http://www.ajhp.org/content/early/2016/12/22/ajhp160919.
 93
    Va. Bd. of Pharmacy, Prescription Drug Abuse: Red flags for pharmacists and
 pharmacy technicians (Aug. 6, 2014), https://youtu.be/j5CkhirlZk8; Philip W.
 Brummond et al., American Society of Health-Systems Pharmacists Guidelines on
 Preventing Diversion of Controlled Substances, 74 Am. J. of Health-System
 Pharmacy e10 (Jan. 2017),
 http://www.ajhp.org/content/early/2016/12/22/ajhp160919.


                                           69
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 85 of 194 PageID #: 106



 accomplice of the drug-seeker; (c) prescriptions written using fictitious patient

 names and addresses; and (d) other similar red flags.94

       172. Pharmacy Defendants, through their words or actions set forth in news

 reports and other public documents, have acknowledged these risks and assured the

 public that issues affecting public health and safety are their highest priority.

       173. In 2015, CVS publicly stated that, “the abuse of controlled substance

 pain medication is a nationwide epidemic that is exacting a devastating toll upon

 individuals, families and communities. Pharmacists have a legal obligation under

 State and Federal law to determine whether a controlled substance was issued for a

 legitimate purpose and to decline to fill prescriptions they have reason to believe

 were issued for a non-legitimate purpose.”95

       174. Similarly, in 2016, Walgreens issued a press release captioned

 “Walgreens Leads Fight Against Prescription Drug Abuse with New Programs to

 Help Curb Misuse of Medications and the Rise in Overdose Deaths.”96


 94
    Fla. Bd. of Pharmacy, DEA Guidelines to Prescription Fraud (June 12, 2013),
 http://floridaspharmacy.gov/latest-news/dea-guidelines-to-prescription-fraud/;
 Mass. Bd. of Registration in Med., Policy 15-05, Prescribing Practices Policy and
 Guidelines (Oct. 8, 2015), http://www.mass.gov/eohhs/docs/borim/policies-
 guidelines/policy-15-05.pdf.
 95
    Patients Profiled at Pharmacy Counters, KTNV (Feb. 23, 2015),
 http://contact1846.rssing.com/chan-30860085/all_p11.html#item217.
 96
    Press Release, Walgreens, Walgreens Leads Fight Against Prescription Drug
 Abuse with New Programs to Help Curb Misuse of Medications and the Rise in
 Overdose Deaths (Feb. 9, 2016), http://news.walgreens.com/press-


                                           70
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 86 of 194 PageID #: 107




              2.     Prior Regulatory Actions Against Pharmacy Defendants for
                     Failing to Prevent Diversion

       175. Despite knowing and even warning of these risks, Pharmacy

 Defendants recklessly or negligently permitted diversion to occur. In failing to

 take adequate measures to prevent substantial opioid-related injuries to the State,

 Pharmacy Defendants have breached their duties under the “reasonable care”

 standard of Delaware common law (including violating a voluntarily-undertaken

 duty to the public which they have assumed by their own words and actions),

 professional duties under the relevant standards of professional practice, and

 requirements established by Delaware and Federal laws and regulations.

       176. Pharmacy Defendants were on notice of their ongoing negligence or

 reckless misconduct towards the State in part because of their history of being

 penalized for violating their duties and legal requirements in other jurisdictions.

                     a.    CVS

       177. CVS has paid fines totaling over $40 million as the result of a series

 of investigations by the DEA and the United States Department of Justice

 (“DOJ”). It nonetheless treated these fines as the cost of doing business and has

 allowed its pharmacies to continue dispensing opioids in quantities significantly




 releases/general-news/walgreens-leads-fight-against-prescription-drug-abuse-with-
 new-programs-to-help-curb-misuse-of-medications-and-the-rise-in-overdose-
 deaths.htm.

                                           71
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 87 of 194 PageID #: 108



 higher than any plausible medical need would require, and to continue violating its

 recordkeeping and dispensing obligations under the FCSA.

       178. As recently as February 2016, CVS paid $8 million to settle

 allegations made by the DEA and the DOJ that its stores and pharmacists had been

 violating their duties under the FCSA and filling prescriptions with no legitimate

 medical purpose.97 CVS has resolved similar allegations by settling with Florida

 ($22 million),98 Oklahoma ($11 million),99 Massachusetts and New Hampshire

 ($3.5 million),100 Texas ($1.9 million),101 and Rhode Island ($450,000).102



 97
    Press Release, Drug Enf’t Admin., DEA Reaches $8 Million Settlement
 Agreement with CVS for Unlawful Distribution of Controlled Substances (Feb. 12,
 2016), https://www.dea.gov/divisions/wdo/2016/wdo021216.shtml.
 98
    Press Release, U.S. Attorney’s Office Middle Dist. of Fla., United States
 Reaches $22 Million Settlement Agreement with CVS for Unlawful Distribution of
 Controlled Substances (May 13, 2015), https://www.justice.gov/usao-
 mdfl/pr/united-states-reaches-22-million-settlement-agreement-cvs-unlawful-
 distribution.
 99
    Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million
 to Settle Civil Penalty Claims Involving Violations of Controlled Substances Act
 (Apr. 3, 2013), https://www.justice.gov/usao-wdok/pr/cvs-pay-11-million-settle-
 civil-penalty-claims-involving-violations-controlled.
 100
     Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million
 to Resolve Allegations that Pharmacists Filled Fake Prescriptions (June 30, 2016),
 https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-
 pharmacists-filled-fake-prescriptions.
 101
     Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-
 News (Sept. 5, 2014), http://www.expressnews.com/business/local/article/H-E-B-
 CVS-fined-over-prescriptions-5736554.php.
 102
     Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims
 Against CVS Health Corp. Resolved With $450,000 Civil Settlement (Aug. 10,


                                          72
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 88 of 194 PageID #: 109



       179. These cases included evidence that CVS filled prescriptions that were

 clearly forged. For example, in 2016, CVS settled with the United States to

 resolve allegations stemming from two DEA investigations that revealed that over

 50 CVS stores in Massachusetts and New Hampshire had filled patently forged

 prescriptions for addictive painkillers more than 500 times between 2011 and

 2014.103 The DEA estimated the street value of the diverted drugs to be over

 $1 million. One forger successfully filled 131 prescriptions for hydrocodone at

 eight CVS stores. One of those stores filled 29 prescriptions for the forger over the

 course of just six months, totaling 1,290 pills, or seven pills per day, an inordinate

 amount under the circumstances. At a different store, the same individual was able

 to fill 28 prescriptions that she forged for herself and three other alleged patients,

 even though the prescriptions were identical in every respect other than the patient

 name. These prescriptions were presented just days apart. Additionally, 107 of the

 forged prescriptions bore the Massachusetts address of a dentist who had closed

 her Massachusetts practice and moved to Maine, something that should have been




 2015), https://www.justice.gov/usao-ri/pr/drug-diversion-claims-against-cvs-
 health-corp-resolved-450000-civil-settlement.
 103
     Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million
 to Resolve Allegations that Pharmacists Filled Fake Prescriptions (June 30, 2016),
 https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-
 pharmacists-filled-fake-prescriptions.


                                           73
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 89 of 194 PageID #: 110



 easily discovered by CVS pharmacists by checking the DEA website or calling the

 phone number on the prescriptions.

       180. CVS also has settled allegations made by the DEA and DOJ that its

 stores and pharmacists had been violating their duty under the FCSA and filling

 prescriptions with no legitimate medical purpose.104 As part of the settlement,

 CVS acknowledged that from 2008 to 2012, some of its stores in Maryland

 dispensed controlled substances, including opioids, in a manner that was not fully

 consistent with the FCSA and relevant regulations, including failing to comply

 with a pharmacist’s responsibility to ensure that these prescriptions were issued for

 a legitimate medical purpose. CVS paid $8 million to settle these claims.

       181. CVS also has settled allegations by the DOJ that some of its stores in

 Connecticut failed to maintain proper records in accordance with the FCSA.105 On

 over 6,000 occasions, CVS stores in Connecticut failed to keep appropriate records

 of prescriptions and purchase invoices. CVS settled these allegations for

 $600,000.


 104
     Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8
 Million Settlement Agreement with CVS for Unlawful Distribution of Controlled
 Substances (Feb. 12, 2016), https://www.justice.gov/usao-md/pr/united-states-
 reaches-8-million-settlement-agreement-cvs-unlawfuldistribution-controlled.
 105
     Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy pays
 $600,000 to Settle Controlled Substances Act Allegations (Oct. 20, 2016),
 https://www.justice.gov/usao-ct/pr/cvs-pharmacy-pays-600000-settle-controlled-
 substances-act-allegations.


                                          74
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 90 of 194 PageID #: 111



       182. Dating back to 2006, CVS retail pharmacies in Oklahoma and

 elsewhere intentionally violated the FCSA by filling prescriptions signed by

 prescribers with invalid DEA registration numbers.106 In order to fill otherwise

 illegitimate prescriptions, CVS pharmacists substituted valid DEA registration

 numbers of non-prescribing practitioners in its records. During that time period,

 the DEA also found numerous instances of CVS pharmacists substituting false

 DEA registration numbers in company computer systems, on paper prescriptions,

 and even in the information that the pharmacy reported to the State of Oklahoma’s

 Prescription Drug Monitoring Program.107

                     b.    Walgreens

       183. Walgreens agreed to the largest settlement in DEA history—

 $80 million—to resolve allegations that it committed an unprecedented number of

 recordkeeping and dispensing violations of the FCSA, including negligently

 allowing controlled substances such as oxycodone and other prescription pain

 killers to be diverted for abuse and illegal black market sales.108 As part of the


 106
     Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11
 million to Settle Civil Penalty Claims Involving Violations of Controlled
 Substances Act (Apr. 3, 2013), https://www.justice.gov/usao-wdok/pr/cvs-pay-11-
 million-settle-civil-penalty-claims-involving-violations-controlled.
 107
     See Complaint, U.S. v. CVS Pharmacies, No. CIV-11-1124-HE (W.D. Okla.
 Oct. 5, 2011).
 108
     Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees to Pay
 a Record Settlement of $80 Million for Civil Penalties Under the Controlled


                                           75
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 91 of 194 PageID #: 112



 settlement, Walgreens agreed to enhance its training and compliance programs,

 and to cease compensating its pharmacists based on the volume of prescriptions

 filled. The settlement resolved investigations into and allegations of FCSA

 violations in Florida, New York, Michigan, and Colorado that resulted in the

 diversion of millions of opioids into illicit channels.

       184. Walgreens’ Florida operations at issue in this settlement highlight its

 egregious conduct regarding diversion of prescription opioids. Walgreens’ Florida

 pharmacies each allegedly ordered more than one million dosage units of

 oxycodone in 2011—more than ten times the average amount.109 They increased

 their orders over time, in some cases as much as 600% in the space of just two

 years, including, for example, supplying a town of 3,000 with 285,800 orders of

 oxycodone in a one-month period. Yet Walgreens corporate officers not only

 turned a blind eye, but also facilitated the opioid boom in Florida by providing

 pharmacists with incentives through a bonus program that compensated them

 based on the number of prescriptions filled at the pharmacy. In fact, corporate

 attorneys at Walgreens suggested, in reviewing the legitimacy of prescriptions

 coming from pain clinics, that “if these are legitimate indicators of inappropriate


 Substances Act (June 11, 2013), https://www.justice.gov/usao-sdfl/pr/walgreens-
 agrees-pay-record-settlement-80-million-civil-penalties-under-controlled.
 109
     Order to Show Cause and Immediate Suspension of Registration, In the Matter
 of Walgreens Co. (Drug Enf’t Admin. Sept. 13, 2012).


                                           76
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 92 of 194 PageID #: 113



 prescriptions perhaps we should consider not documenting our own potential

 noncompliance,” underscoring Walgreens’ attitude that profit outweighed

 compliance with the FCSA or the health of communities.110

       185. Walgreens has also settled with a number of state attorneys general,

 including West Virginia ($575,000)111 and Massachusetts ($200,000).112 The

 Massachusetts Attorney General’s Medicaid Fraud Division found that, from 2010

 through most of 2015, multiple Walgreens stores across the state failed to monitor

 the opioid use of some Medicaid patients who were considered high-risk. Such

 patients are supposed to obtain all prescriptions from only one pharmacy, and that

 pharmacy is required to track the patient’s pattern of prescription use. Some of the

 state’s 160 Walgreens accepted cash for controlled substances from patients in

 MassHealth (the state’s combined program for Medicaid and Children’s Health

 Insurance), rather than seeking approval from the agency. In some cases,

 MassHealth had rejected the prescription; other times, MassHealth was never

 billed. In response, Walgreens simply agreed to update its policies and procedures


 110
     Id.
 111
     Caleb Stewart, Kroger, CVS, and Walgreens Settle Lawsuit with West Virginia
 for $3 Million, WHSV (Aug. 16, 2016),
 http://www.whsv.com/content/news/Kroger-CVS-and-Walgreens-settle-lawsuit-
 with-West-Virginia-for-3-million-390332992.html.
 112
     Felice J. Freyer, Walgreens to Pay $200,000 Settlement for Lapses with
 Opioids, The Boston Globe (Jan. 19, 2017),
 https://www.bostonglobe.com/metro/2017/01/18/walgreens-agrees-better-monitor-
 opioid-dispensing/q0B3FbMo2k3wPt4hvmTQrM/story.html.

                                          77
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 93 of 194 PageID #: 114



 and train its staff to ensure that pharmacists properly monitor and do not accept

 cash payments from patients deemed high-risk.

              3.     Despite Prior Regulatory Actions, Pharmacy Defendants
                     Violated Their Duties in Delaware

       186. Despite their extensive understanding of the risks and harms of opioid

 diversion set forth above, Pharmacy Defendants continue to fail to fulfill their

 obligations to prevent opioid diversion.

       187. Pharmacy Defendants have engaged in a consistent, nationwide

 pattern and practice of illegally distributing opioids. That pattern and practice has

 also affected the State of Delaware and its citizens.

       188. On information and belief, Pharmacy Defendants regularly filled

 prescriptions in circumstances where red flags were present.

       189. On information and belief, Pharmacy Defendants regularly filled

 opioid prescriptions that would have been deemed questionable or suspicious by a

 reasonably-prudent pharmacy.

       190. On information and belief, Pharmacy Defendants have not adequately

 trained or supervised their employees at the point of sale to investigate or report

 suspicious or invalid prescriptions, or protect against corruption or theft by

 employees or others.

       191. On information and belief, Pharmacy Defendants utilize monetary

 compensation programs for certain employees that are based, in part, on the


                                            78
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 94 of 194 PageID #: 115



 number of prescriptions filled and dispensed. This type of compensation creates

 economic disincentives within the companies to change their practices. For

 example, there have been reports of chain store supervisory personnel directing

 pharmacists to fill prescriptions regardless of the red flags presented.

 VI.   DEFENDANTS’ MISCONDUCT HAS INJURED AND CONTINUES
       TO INJURE THE STATE AND ITS CITIZENS

       192. Defendants had the ability and the duty to prevent misleading

 marketing and opioid diversion, which both presented known or foreseeable

 dangers of serious injury. But they failed to do so, resulting in substantial injury to

 the State of Delaware and its citizens.

              Manufacturer Defendants’ Misconduct Has Injured and
              Continues to Injure Delaware and Its Citizens

       193. Manufacturer Defendants’ marketing campaign has resulted in a

 significant increase in opioid usage: between 1999 and 2016 the number of

 opioids prescribed nationwide quadrupled.113 Nationally, the number of people

 who take prescription opioids for non-medical purposes is now greater than the




 113
    Li Hui Chen et al., Drug-Poisoning Deaths Involving Opioid Analgesics:
 United States, 1999–2011, 166 Nat’l Ctr. for Health Statistics Data Brief (Sept.
 2014), https://www.cdc.gov/nchs/data/databriefs/db166.pdf; Rose A. Rudd, et al.,
 Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010-
 2015, 65 Morbidity and Mortality Weekly Report 1445 (Dec. 30, 2016),
 https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm.


                                           79
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 95 of 194 PageID #: 116



 number of people who use cocaine, heroin, hallucinogens, and inhalants

 combined.114

       194. Every year, millions of Americans misuse and abuse opioid pain

 relievers in ways that can lead to addiction, overdose, and death. Data from the

 CDC suggest that over 2.6 million Americans are opioid-dependent and over

 16.5 million Americans use prescription opioids for non-medical purposes.

       195. In Delaware alone, data from the Substance Abuse and Mental Health

 Services Administration indicate that over 32,000 residents use prescription

 opioids for non-medical purposes.115 Similarly, DEA data shows that in the past

 few years, Delaware has seen annual distribution exceeding 50 pills per resident

 and 440 pills per opioid user,116 which is far more than is medically necessary.


 114
     Substance Abuse and Mental Health Servs. Admin., Results from the 2009
 National Survey on Drug Use and Health, NSDUH Series H-38A, HHS
 Publication No. SMA 10-4586 Findings (2010).
 115
     Substance Abuse and Mental Health Servs. Admin., National Survey on Drug
 Use and Health: Comparison of 2002–2003 and 2013–2014 population
 percentages (50 states and the District of Columbia), 16–17 (2015),
 http://www.samhsa.gov/data/sites/default/files/NSDUHsaeLongTermCHG2014/N
 SDUHsaeLongTermCHG2014.pdf (4.34 percent of people age 12 or older in
 Delaware engage in the non-medical use of prescription pain relievers).
 116
     Drug Enf’t Admin., ARCOS Report, Retail Drug Distribution By Zip Code
 Within State by Grams Weight,
 https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/2013/2013_rpt1.p
 df;
 https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/2014/2014_rpt1.p
 df;
 https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/2015/2015_rpt1.p


                                          80
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 96 of 194 PageID #: 117



       196. This growth in non-medical demand, addiction, and diversion has led

 to serious harm in Delaware and across the nation. The increase in opioid usage

 has led to levels of addiction that, according to the U.S. Surgeon General, have

 “devastated” communities across America.117 Princeton University economist

 Alan Krueger found that opioids may be responsible for roughly 20% of the

 national decline in workforce participation by prime-age men and 25% of the drop

 by women.118 In 2011, the CDC reported that overdose deaths from prescription

 opioids had reached “epidemic levels.”119 That year, 16,917 people died from a

 prescription opioid-related overdose, an increase of more than 20% over the

 previous three years.120 Since then, the national death toll has continued to rise. In




 df;
 https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/report_yr_2016.p
 df.
 117
     Letter from U.S. Surgeon General Vivek H. Murthy (Aug. 2016),
 https://perma.cc/VW95-CUYC.
 118
     See Alan B. Krueger, Where Have All the Workers Gone? An Inquiry into the
 Decline of the U.S. Labor Force Participation Rate, Brookings Papers on Econ.
 Activity Conference Draft (Aug. 26, 2017).
 119
     Press Release, CDC, Prescription Painkiller Overdoses at Epidemic Levels
 (Nov. 1, 2011),
 https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
 120
     Li Hui Chen et al., Drug-poisoning Deaths Involving Opioid Analgesics: United
 States, 1999–2011, 166 Nat’l Ctr. for Health Statistics Data Brief (Sept. 2014),
 https://www.cdc.gov/nchs/data/databriefs/db166.pdf.


                                           81
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 97 of 194 PageID #: 118



 2014, 18,893 people died from a prescription opioid-related overdose.121 In 2015,

 that number increased again to 22,598.122 As discussed above, overdose deaths in

 the United States involving prescription opioids have quadrupled since 1999. In

 Delaware, CDC data shows that over 340 people died from prescription opioid

 overdoses from 2011–2015.123

       197. It was reasonably foreseeable to Manufacturer Defendants that their

 deceptive and aggressive marketing of opioids in and around Delaware would

 allow opioids to fall into the hands of children, addicts, criminals, and other

 unintended users.

       198. It was reasonably foreseeable to Manufacturer Defendants that when

 at-risk users gained access to opioids based on deceptive and false marketing,

 tragic, preventable injuries would result, including abuse, addiction, overdoses, and

 death. It was also reasonably foreseeable that many of these injuries would be

 suffered by Delaware citizens, and that the costs of these injuries would be

 shouldered by the State.




 121
     Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—
 United States, 2010–2015, 65 Morbidity and Mortality Weekly Report 1445 (Dec.
 30, 2016), https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm.
 122
     Id.
 123
     CDC, Wide-ranging Online Data for Epidemiologic Research (WONDER),
 http://wonder.cdc.gov.

                                           82
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 98 of 194 PageID #: 119



       199. Manufacturer Defendants knew or should have known that their

 continuing efforts to employ deceptive and unfair marketing, despite being

 previously sanctioned by government agencies for such actions, would contribute

 to the opioid epidemic in Delaware, and would create access to opioids by at-risk

 and unauthorized users, which, in turn, would perpetuate the cycle of abuse,

 addiction, demand, and illegal transactions.

       200. Manufacturer Defendants knew or should have known that a

 substantial amount of the opioids dispensed in and around Delaware were being

 dispensed as a result of their deceptive and unfair marketing. It was foreseeable

 that the increased number of prescriptions for opioids resulting from Manufacturer

 Defendants’ deceptive and unfair marketing would cause harm to individual

 pharmacy customers, third-parties, and Delaware.

       201. Manufacturer Defendants made substantial profits over the years

 based on the deceptive and unfair marketing of opioids in Delaware. Their

 participation and cooperation in a common enterprise has foreseeably caused

 injuries to the citizens of Delaware and financial damages to Delaware.

 Manufacturer Defendants knew that Delaware would be unjustly forced to bear the

 costs of these injuries and damages.

       202. Manufacturer Defendants’ deceptive and unfair marketing of

 prescription opioids to Delaware citizens showed a reckless disregard for the safety



                                          83
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 99 of 194 PageID #: 120



 of Delaware and its citizens. Their conduct poses a continuing threat to the health,

 safety, and welfare of Delaware and its citizens.

              Distributor Defendants’ Misconduct has Injured and Continues to
              Injure Delaware and Its Citizens

       203. It was reasonably foreseeable to Distributor Defendants that their

 conduct in violating their duties under Delaware and Federal law and regulations

 and flooding the market in and around Delaware with highly-addictive opioids

 would allow opioids to be diverted into illegitimate channels for non-medical uses.

       204. It was reasonably foreseeable to Distributor Defendants that, when

 unintended users gain access to opioids, tragic, preventable injuries will result,

 including addiction, overdoses, and death. It was also reasonably foreseeable that

 many of these injuries would be suffered by Delaware citizens, and that the costs

 of these injuries would be shouldered by the State.

       205. Distributor Defendants knew or should have known that the opioids

 being diverted from their supply chains would contribute to Delaware’s opioid

 epidemic, and would create access to opioids by unauthorized users, which, in turn,

 would perpetuate the cycle of addiction, demand, and illegal transactions.

       206. Distributor Defendants knew or should have known that a substantial

 amount of the opioids dispensed in and around Delaware were being dispensed

 based on invalid or suspicious prescriptions. It was foreseeable that filling

 suspicious orders for opioids would cause harm to Delaware and its citizens.


                                           84
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 100 of 194 PageID #: 121



       207. Distributor Defendants were aware of widespread prescription opioid

 abuse in and around Delaware, but they nevertheless persisted in a pattern of

 distributing commonly-abused and diverted opioids in geographic areas—and in

 such quantities, and with such frequency—that they knew or should have known

 these commonly-abused controlled substances were not being prescribed and

 consumed for legitimate medical purposes.

       208. The use of opioids by Delaware citizens who were addicted or who

 did not have a medically-necessary purpose for using opioids could not have

 occurred without the actions of Distributor Defendants. If Distributor Defendants

 had adhered to effective controls to guard against diversion that are required by

 Delaware and Federal law, the State and its citizens would have avoided significant

 injury.

       209. Distributor Defendants made substantial profits based on the illegal

 diversion of opioids in Delaware. Distributor Defendants’ participation and

 cooperation in a common enterprise has foreseeably caused injuries to Delaware’s

 citizens and financial damages to the State. Distributor Defendants knew full well

 that Delaware would be unjustly forced to bear the costs of these injuries and

 damages.

       210. Distributor Defendants’ distribution of excessive amounts of

 prescription opioids to Delaware showed a reckless disregard for the safety of the



                                          85
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 101 of 194 PageID #: 122



 State and its citizens. Their conduct poses a continuing threat to the health, safety,

 and welfare of the State.

         211. At all relevant times, Distributor Defendants engaged in these

 activities, and continue to do so, knowing that the State, in its role of providing

 protection and care for its citizens, would have to provide or pay for additional

 costs to the healthcare, criminal justice, social services, welfare, and education

 systems, and would also have to bear the loss of substantial economic productivity

 and tax revenue.

         212. It was reasonably foreseeable to Distributor Defendants that the State

 would be forced to bear substantial expenses as a result of Distributor Defendants’

 acts.

         213. The conduct of Distributor Defendants, their agents, and their

 employees was, at the very least, negligent.

                 Pharmacy Defendants’ Misconduct Has Injured and Continues to
                 Injure Delaware and Its Citizens

         214. It was reasonably foreseeable to Pharmacy Defendants that filling

 invalid or suspicious prescriptions for opioids would cause harm to Delaware and

 its citizens.

         215. It was reasonably foreseeable to Pharmacy Defendants that, when

 unintended users gained access to opioids, tragic preventable injuries would result,




                                           86
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 102 of 194 PageID #: 123



 including overdoses and death. It was also reasonably foreseeable many of these

 injuries would be suffered by Delaware and its citizens.

       216. Pharmacy Defendants were aware of widespread prescription opioid

 abuse in and around Delaware, but they nevertheless persisted in filling invalid or

 suspicious prescriptions for opioids and failed to take steps to address this

 misconduct.

       217. The use of opioids by Delaware citizens who were addicted or who

 did not have a medically-necessary purpose could not have occurred without the

 actions of Pharmacy Defendants. If Pharmacy Defendants had adhered to effective

 controls to guard against diversion, Delaware and its citizens would have avoided

 significant injury.

       218. Pharmacy Defendants made substantial profits from the diversion of

 opioids in Delaware. Their participation and cooperation in a common enterprise

 has foreseeably caused injuries to Delaware’s citizens and financial damages to the

 State. Pharmacy Defendants knew that Delaware would be unjustly forced to bear

 the costs of these injuries and damages.

       219. At all relevant times, Pharmacy Defendants have engaged in improper

 dispensing practices, and continue to do so, despite knowing they could take

 measures to eliminate them in substantial part.




                                            87
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 103 of 194 PageID #: 124



         220. At all relevant times, Pharmacy Defendants engaged in these

 activities, and continue to do so, knowing that the State, in its role of providing

 protection and care for its citizens, would have to provide or pay for additional

 costs to the healthcare system, justice system, social services, welfare, and

 education system, and would also have to bear the loss of substantial economic

 productivity and tax revenue.

         221. It was reasonably foreseeable to Pharmacy Defendants that the State

 would be forced to bear substantial expenses as a result of Pharmacy Defendants’

 acts.

         222. The conduct of Pharmacy Defendants, their agents, and their

 employees is, at the very least, negligent.

               Defendants’ Misconduct Has Damaged Delaware and Its Citizens

         223. Defendants’ misleading marketing and failure to prevent opioid

 diversion in and around Delaware has contributed to a range of social problems,

 including violence and delinquency. Adverse social outcomes include child

 neglect, family dysfunction, babies born addicted to opioids, criminal behavior,

 poverty, property damage, unemployment, and social despair. As a result, more

 and more of Delaware’s resources and those of its counties and municipalities are

 devoted to addiction-related problems. Meanwhile, the prescription opioid crisis




                                           88
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 104 of 194 PageID #: 125



 diminishes Delaware’s available workforce, decreases productivity, increases

 poverty, and consequently requires greater State and local expenditures.

       224. These costs to the State are estimated to include $29 million in

 additional costs to Delaware’s healthcare system,124 $33 million in additional costs

 to Delaware’s justice system,125 $8 million in additional costs to Delaware’s social




 124
     Matric Global Advisors, Health Care Costs from Opioid Abuse: A state-by-state
 analysis, 5 (2015), http://drugfree.org/wp-
 content/uploads/2015/04/Matrix_OpioidAbuse_040415.pdf (prescription opioid
 abuse costs the citizens and State of Delaware approximately $109 million in
 healthcare costs each year); Kohei Hasegawa et al., Epidemiology of Emergency
 Department Visits for Opioid Overdose: A population-based study, 89 Mayo Clinic
 Proceedings 462, 465, 467 (2014) (there are about two times as many opioid
 overdoses in Emergency Departments among publicly-insured individuals than
 among individuals with private insurance and publicly-insured individuals are
 approximately twice as likely to have a second visit to the Emergency Departments
 for opioid overdose as are privately-insured individuals); Congressional Research
 Serv., Medicaid’s Federal Medical Assistance Percentage (FMAP) 14–15 (2016),
 https://fas.org/sgp/crs/misc/R43847.pdf (the State of Delaware pays for
 approximately 40% of publicly-funded healthcare expenses, or $29 million).
 125
     The Nat’l Ctr. on Addiction and Substance Abuse, Shoveling Up II: The impact
 of substance abuse on federal, state, and local budgets, 27 (May 2009),
 http://www.centeronaddiction.org/addiction-research/reports/shoveling-ii-impact-
 substance-abuse-federal-state-and-local-budgets (On average, state governments
 spend 12% more than their healthcare spending on the justice system expenses
 associated with substance abuse. Thus, compared to the $29 million Delaware
 spends on opioid-related healthcare, data suggests that the State spends almost $33
 million annually on the costs of opioid abuse to the justice system.).


                                          89
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 105 of 194 PageID #: 126



 services,126 and $22 million in additional costs to Delaware’s education system,127

 as well as at least $29 million in lost productivity and substantially lower tax

 revenue.128

                                    COUNT I
                               CONSUMER FRAUD
                         (Against Manufacturer Defendants)

       225. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.




 126
     The Nat’l Ctr. on Addiction and Substance Abuse, Shoveling Up II: The impact
 of substance abuse on federal, state, and local budgets, 27 (May 2009),
 http://www.centeronaddiction.org/addiction-research/reports/shoveling-ii-impact-
 substance-abuse-federal-state-and-local-budgets (State governments spend 27% of
 the amount they spend on healthcare to fund the social services related to substance
 abuse. Applying this percentage to Delaware implies that the State spends almost
 $8 million annually on social services related to opioid abuse.).
 127
     The Nat’l Ctr. on Addiction and Substance Abuse, Shoveling Up II: The impact
 of substance abuse on federal, state, and local budgets, 27 (May 2009),
 http://www.centeronaddiction.org/addiction-research/reports/shoveling-ii-impact-
 substance-abuse-federal-state-and-local-budgets (State governments spend 77% of
 the amount they spend on healthcare on the K–12 education expenses associated
 with substance abuse. Using these data, Delaware is estimated to spend over $22
 million annually to cover the burden of opioid abuse on the State’s K–12 education
 system.).
 128
     Howard Birnbaum et al., Societal Costs of Prescription Opioid Abuse,
 Dependence, and Misuse in the United States, 12 Pain Med. 657, 661 (2011); Scott
 Strassels, Economic Burden of Prescription Opioid Misuse and Abuse, 15 J. of
 Managed Care & Specialty Pharmacy 556 (2009); Ryan Hansen et al., Economic
 Costs of Nonmedical Use of Prescription Opioids, 27 The Clinical J. of Pain 194
 (2011) (All studies estimate that the lost productivity costs are at least as large as
 the healthcare costs resulting from opioid abuse, and possibly as large as ten times
 annual healthcare costs.).

                                             90
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 106 of 194 PageID #: 127



       226. In marketing and selling prescription opioids, Manufacturer

 Defendants have persistently (i) misrepresented material facts, or (ii) suppressed,

 concealed, or omitted material facts, with the intent that consumers will rely

 thereon. Manufacturer Defendants:

              a.    have ignored Delaware laws that prohibit misbranding drugs;

              b.    have marketed drugs through misstatements and omissions of

 facts regarding the safety of those drugs; and

              c.    have failed adequately to guard against misstatements and

 omissions concerning opioids.

       227. Manufacturer Defendants have misrepresented material facts, or used

 concealment, suppression, or omission of material facts with the intent that others

 rely upon such concealment, suppression, or omission, in connection with the

 manufacture and sale of prescription opioids, whether or not any person has been

 misled, deceived, or damaged thereby, in violation of § 2513(a) of the Delaware

 Consumer Fraud Act, by misrepresenting, suppressing, concealing, or omitting the

 material facts set forth in the preceding paragraph.

       228. Each instance where the Defendants have manufactured or sold

 prescription opioids and misrepresented material facts or suppressed, concealed, or

 omitted any of the material facts set forth herein with the intent that a consumer




                                          91
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 107 of 194 PageID #: 128



 would rely thereon, constitutes a violation of § 2513(a) of the Delaware Consumer

 Fraud Act.

                                    COUNT II
                                    NUISANCE
                         (Against Manufacturer Defendants)

       229. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       230. The Attorney General is authorized to bring suit on behalf of the State

 and its citizens to address a public nuisance.

       231. Manufacturer Defendants have caused, are causing, and will continue

 to cause a public nuisance, in that they have committed offenses against the public

 order and economy of the State by unlawfully marketing prescription opioids

 through misleading statements in ways that facilitate the sale, distribution, and

 dispensing of such drugs from premises in and around Delaware to unauthorized

 users in Delaware—including children, people at risk of overdose or suicide, and

 criminals.

       232. Manufacturer Defendants’ activities have unreasonably interfered, are

 interfering, and will interfere with the common rights of the general public:

              a.     to be free from reasonable apprehension of danger to person

 and property;




                                             92
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 108 of 194 PageID #: 129



                b.     to be free from the spread of disease within the community,

 including the disease of addiction and other diseases associated with widespread

 illegal opioid use;

                c.     to be free from the negative health and safety effects of

 widespread illegal drug sales on premises in and around Delaware;

                d.     to be free from blights on the community created by areas of

 illegal drug use and opioid sales;

                e.     to live or work in a community in which local businesses do not

 profit from using their premises to sell products that serve the criminal element and

 foster a secondary market of illegal transactions; and

                f.     to live or work in a community in which community members

 are not under the influence of narcotics unless they have a legitimate medical need

 to use them.

       233. Manufacturer Defendants’ interference with these public rights has

 been, is, and will continue to be unreasonable and objectionable because it:

                a.     has harmed and will continue to harm the public health and

 public peace of Delaware;

                b.     has harmed and will continue to harm Delaware neighborhoods

 and communities by increasing crime, and thereby interfering with the rights of the

 community at large;



                                            93
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 109 of 194 PageID #: 130



              c.     is proscribed by Delaware and Federal statutes;

              d.     is of a continuing nature, and has produced long-lasting effects;

 and

              e.     is known to Manufacturer Defendants that their conduct has a

 significant effect upon the public rights of Delaware citizens and the State.

       234. The nuisance has undermined, is undermining, and will continue to

 undermine Delaware citizens’ public health, quality of life, and safety. It has

 resulted in increased crime and property damage within Delaware. It has resulted

 in high rates of addiction, overdoses, and dysfunction within Delaware families

 and entire communities.

       235. Public resources have been, are being, and will be consumed in efforts

 to address the prescription drug abuse epidemic, thereby eliminating available

 resources which could be used to benefit the Delaware public at large.

       236. Manufacturer Defendants’ nuisance-causing activities have not been,

 are not being, and will not be outweighed by the utility of the Defendants’

 behavior. In fact, their behavior is illegal and has no social utility whatsoever.

 There is no legitimately-recognized societal interest in marketing opioids through

 misleading statements.

       237. As a direct and proximate result of the nuisance, Delaware citizens

 have been injured in their ability to enjoy rights common to the public.



                                           94
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 110 of 194 PageID #: 131



       238. As a direct and proximate result of the nuisance, Delaware and its

 counties and municipalities have sustained economic harm by spending substantial

 sums trying to fix the societal harms caused by Manufacturer Defendants’

 nuisance-causing activity, including costs to the healthcare, criminal justice, social

 services, welfare, and education systems.

       239. The State has also suffered unique harms of a kind that are different

 from Delaware citizens at large, namely, that the State has been harmed in its

 proprietary interests.

                                     COUNT III
                                   NEGLIGENCE
                          (Against Manufacturer Defendants)

       240. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       241. Manufacturer Defendants owe a duty to Delaware to conform their

 behavior to the legal standard of reasonable conduct under the circumstances, in

 the light of the apparent risks.

       242. The conduct of Manufacturer Defendants has fallen below the

 reasonable standard of care. Their negligent acts have included the following:

              a.     marketing opioids with misleading statements resulting in

 oversupply in and around Delaware of highly addictive prescription opioids;




                                             95
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 111 of 194 PageID #: 132



              b.     enhancing the risk of harm from prescription opioids by

 marketing those drugs with misleading statements and omissions;

              c.     inviting criminal activity into Delaware by marketing opioids in

 violation of Delaware and Federal laws;

              d.     failing to adhere to all applicable law and regulations pertaining

 to the marketing of prescription opioids;

              e.     failing to train or investigate their employees properly; and

              f.     failing to provide adequate safeguards against misleading

 marketing.

       243. Each Manufacturer Defendant had a responsibility to exercise

 reasonable care in marketing prescription opioids.

       244. Each Manufacturer Defendant marketed opioids using misleading

 statements and omissions knowing that (a) there was a substantial likelihood this

 marketing would lead to sales illicit and non-medical purposes; and (b) opioids are

 an inherently dangerous product when used for chronic pain and non-medical

 purposes.

       245. Manufacturer Defendants were negligent or reckless in not acquiring

 or not utilizing special knowledge and special skills that relate to the dangerous

 activity of selling opioids in order to prevent or ameliorate such distinctive and

 significant dangers.



                                             96
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 112 of 194 PageID #: 133



       246. Each Manufacturer Defendant breached its duty to exercise the degree

 of care, prudence, watchfulness, and vigilance commensurate with the dangers

 involved in marketing and introducing into commerce dangerous controlled

 substances.

       247. Manufacturer Defendants were also negligent or reckless in

 voluntarily undertaking duties to the State that they breached. Manufacturer

 Defendants, through their affirmative statements regarding protecting consumers,

 undertook duties to take all reasonable precautions to avoid misleading marketing

 statements.

       248. Manufacturer Defendants’ conduct was the cause-in-fact and

 proximate cause of injuries and damages to the State, its counties, municipalities

 and its citizens, including but not limited to the following: increased costs for

 healthcare, criminal justice, social services, welfare, and education systems, as well

 as the cost of lost productivity and lower tax revenues.

       249. Delaware is without fault, and its injuries would not have happened in

 the ordinary course of events if Manufacturer Defendants had used due care

 commensurate to the dangers involved in the marketing of controlled substances.

       250. The reckless, wanton, and reprehensible nature of Manufacturer

 Defendants’ conduct entitles Delaware to an award of punitive damages and

 attorneys’ fees and costs.



                                           97
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 113 of 194 PageID #: 134




                                    COUNT IV
                             UNJUST ENRICHMENT
                         (Against Manufacturer Defendants)

       251. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       252. Delaware has expended substantial amounts of money in an effort to

 remedy or mitigate the societal harms caused by Manufacturer Defendants’

 misleading statements.

       253. The estimated expenditures of $29 million annually by Delaware in

 providing healthcare services to people who use opioids have added to

 Manufacturer Defendants’ wealth. The expenditures by Delaware have helped

 sustain Manufacturer Defendants’ businesses.

       254. In this way, Delaware has conferred a benefit upon Manufacturer

 Defendants, by paying for what may be called their externalities—the costs of the

 harm caused by their misleading statements and omissions.

       255. Delaware has also expended substantial amounts of money paying for

 purchases by unauthorized users of prescription opioids illegally marketed by

 Manufacturer Defendants.

       256. In this way, the State has conferred a benefit upon Manufacturer

 Defendants.




                                             98
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 114 of 194 PageID #: 135



       257. Manufacturer Defendants made substantial profits while fueling the

 prescription opioid epidemic in Delaware.

       258. Manufacturer Defendants continue to receive considerable profits

 from the sale of controlled substances in Delaware.

       259. Manufacturer Defendants are aware of these obvious benefits, and

 retention of these benefits is unjust.

       260. Manufacturer Defendants have been unjustly enriched by these

 benefits.

       261. It would be inequitable to allow Manufacturer Defendants to retain

 these benefits.

                                     COUNT V
                                CONSUMER FRAUD
             (Against Distributor Defendants and Pharmacy Defendants)

       262. The State realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       263. In distributing and dispensing prescription opioids, Distributor

 Defendants and Pharmacy Defendants have persistently (i) misrepresented material

 facts, or (ii) suppressed, concealed, or omitted material facts with the intent that

 consumers will rely thereon. Distributor Defendants and Pharmacy Defendants

 have misrepresented or concealed the material facts that they:

               a.    have failed to report suspicious orders of controlled substances;



                                             99
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 115 of 194 PageID #: 136



              b.     have failed to maintain necessary records of opioid transactions;

              c.     have deliberately ignored questionable and obviously illegal

 prescriptions and filled them anyway;

              d.     have failed to implement effective business practices to guard

 against diversion of highly-addictive opioid products;

              e.     have turned a blind eye to the sale of prescription opioids to the

 citizens of Delaware in quantities that far exceeded the number of prescriptions

 that could reasonably have been used for medical purposes, despite information

 provided by prescribing records, pharmacy orders, and field reports from sales

 representatives; and

              f.     have violated the Delaware and Federal laws and regulations by

 (i) habitually filling suspicious or invalid orders for prescription opioids at the

 wholesale and retail levels; (ii) failing to maintain effective controls against opioid

 diversion; and (iii) failing to operate a system to disclose suspicious orders of

 controlled substances.

       264. Distributor Defendants and Pharmacy Defendants have

 (a) misrepresented material facts, or (b) used concealment, suppression, or

 omission of material facts with the intent that others rely upon such concealment,

 suppression, or omission, in connection with the sale, distribution, or dispensing of

 prescription opioids, whether or not any person has been misled, deceived or



                                           100
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 116 of 194 PageID #: 137



 damaged thereby, in violation of § 2513(a) of the Delaware Consumer Fraud Act,

 by suppressing, concealing, or omitting the material facts set forth in the preceding

 paragraph.

       265. Each instance where Distributor Defendants and Pharmacy

 Defendants have sold, distributed, or dispensed prescription opioids and

 suppressed, concealed or omitted any of the material facts set forth herein with the

 intent that a consumer would rely thereon, constitutes a violation of § 2513(a) of

 the Delaware Consumer Fraud Act.

                                   COUNT VI
                                  NUISANCE
           (Against Distributor Defendants and Pharmacy Defendants)

       266. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       267. The Attorney General is authorized to bring suit on behalf of the State

 and its citizens to address a public nuisance.

       268. Distributor Defendants and Pharmacy Defendants have caused, are

 causing, and will continue to cause a public nuisance, in that they have committed

 offenses against the public order and economy of the State by unlawfully:

              a.     facilitating the diversion of prescription opioids by selling,

 distributing, or dispensing, or facilitating the sale, distribution, or dispensing of,




                                            101
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 117 of 194 PageID #: 138



 such drugs from premises in and around Delaware to unauthorized users in

 Delaware—including children, people at risk of overdose or suicide, and criminals;

               b.      failing to implement effective controls and procedures to guard

 against theft, diversion, and misuse of controlled substances from legal supply

 chains;

               c.      failing to design and operate an adequate system to detect, halt,

 and report suspicious orders of controlled substances; and

               d.      using property for repeated unlawful sales of controlled

 substances.

       269. Defendants’ activities have unreasonably interfered, are interfering,

 and will interfere with the common rights of the public:

               a.      to be free from reasonable apprehension of danger to person

 and property;

               b.      to be free from the spread of disease within the community,

 including the disease of addiction and other diseases associated with widespread

 illegal opioid use;

               c.      to be free from the negative health and safety effects of

 widespread illegal drug sales on premises in and around Delaware;

               d.      to be free from blights on the community created by areas of

 illegal drug use and opioid sales;



                                            102
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 118 of 194 PageID #: 139



                e.   to live or work in a community in which local businesses do not

 profit from using their premises to sell products that serve the criminal element and

 foster a secondary market of illegal transactions; and

                f.   to live or work in a community in which community members

 are not under the influence of narcotics unless they have a legitimate medical need

 to use them.

       270. Distributor Defendants and Pharmacy Defendants’ interference with

 these public rights has been, is, and will continue to be unreasonable and

 objectionable because it:

                a.   has harmed and will continue to harm the public health and

 public peace of Delaware;

                b.   has harmed and will continue to harm Delaware neighborhoods

 and communities by increasing levels of crime and thereby interfering with the

 rights of the community at large;

                c.   is proscribed by Delaware and Federal statutes and regulations,

 including the DE CSA and FCSA;

                d.   is of a continuing nature, and has produced long-lasting effects;

 and

                e.   is known to Defendants that their conduct has a significant

 effect upon the public rights of Delaware and its citizens.



                                          103
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 119 of 194 PageID #: 140



       271. The nuisance has undermined, is undermining, and will continue to

 undermine Delaware citizens’ public health, quality of life, and safety. It has

 resulted in increased crime and property damage within Delaware. It has resulted

 in high rates of addiction, overdoses, and dysfunction within Delaware families

 and entire communities.

       272. Public resources have been, are, and will continue to be consumed in

 efforts to address the prescription drug abuse epidemic, thereby eliminating

 available resources which could be used to benefit the Delaware public at large.

       273. Distributor Defendants’ and Pharmacy Defendants’ nuisance-causing

 activities have not been, are not being, and will not be outweighed by the utility of

 Defendants’ behavior. In fact, their behavior is illegal and has no social utility

 whatsoever. There is no legitimately-recognized societal interest in failing to

 identify, halt, and report suspicious opioid transactions.

       274. At all times, Distributor Defendants and Pharmacy Defendants

 possessed the responsibility, right and ability to control the sale, distribution, or

 dispensing of prescription opioids in Delaware. Distributor Defendants had the

 power to shut off the supply of illicit opioids into Delaware, and Pharmacy

 Defendants had the power to prevent the sale of opioids in Delaware for non-

 medical purposes.




                                           104
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 120 of 194 PageID #: 141



       275. As a direct and proximate result of the nuisance, Delaware citizens

 have been injured in their ability to enjoy rights common to the general public.

       276. As a direct and proximate result of the nuisance, Delaware and its

 counties and municipalities have sustained economic harm by spending substantial

 sums trying to fix the societal harms caused by Defendants’ nuisance-causing

 activity, including costs to the healthcare, criminal justice, social services, welfare,

 and education systems.

       277. The State has also suffered unique harms of a kind that are different

 from Delaware citizens at large, namely, that the State has been harmed in its

 proprietary interests.

                                  COUNT VII
                                 NEGLIGENCE
           (Against Distributor Defendants and Pharmacy Defendants)

       278. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       279. Distributor Defendants and Pharmacy Defendants owe a duty to

 conform their behavior to the legal standard of reasonable conduct under the

 circumstances, in the light of the apparent risks.

       280. The conduct of Distributor Defendants and Pharmacy Defendants fell

 below the reasonable standard of care. Their negligent acts include the following:




                                            105
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 121 of 194 PageID #: 142



              a.     oversupplying the market in and around Delaware with highly-

 addictive prescription opioids;

              b.     using unsafe distribution and dispensing practices;

              c.     enhancing the risk of harm from prescription opioids by failing

 to act as a last line of defense against diversion;

              d.     inviting criminal activity into Delaware by disregarding

 precautionary measures built into the DE CSA and FCSA;

              e.     failing to adhere to all applicable laws and regulations

 pertaining to the distribution and sale of prescription opioids;

              f.     failing to train or investigate their employees properly;

              g.     failing to review prescription orders for red flags;

              h.     failing to report suspicious orders or refuse to fill them;

              i.     failing to provide effective controls and procedures to guard

 against theft and diversion of controlled substances; and

              j.     failing to police the integrity of the supply chain for

 prescription opioids.

       281. Each Distributor Defendant and Pharmacy Defendant had a

 responsibility to control the sale, distribution, or dispensing of prescription opioids.

       282. Each Distributor Defendant and Pharmacy Defendant sold

 prescription opioids in the supply chain when it knew or should have known that



                                           106
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 122 of 194 PageID #: 143



 (a) there was a substantial likelihood that many of the sales were for non-medical

 purposes; and (b) opioids are an inherently dangerous product when used for non-

 medical purposes.

       283. Distributor Defendants and Pharmacy Defendants were negligent or

 reckless in not acquiring or not utilizing special knowledge and special skills that

 relate to the dangerous activity of selling opioids in order to prevent or ameliorate

 such distinctive and significant dangers.

       284. Distributor Defendants and Pharmacy Defendants were also negligent

 or reckless in failing to guard against foreseeable third-party negligence or

 misconduct, such as the foreseeable conduct of negligent or corrupt prescribers,

 corrupt pharmacists and staff, and criminals who buy and sell opioids for non-

 medical purposes.

       285. Each Distributor Defendant and Pharmacy Defendant breached its

 duty to exercise the degree of care, prudence, watchfulness, and vigilance

 commensurate with the dangers involved in selling dangerous controlled

 substances.

       286. Distributor Defendants and Pharmacy Defendants are in a limited

 class of registrants authorized to distribute and sell controlled substances in

 Delaware. This places Distributor Defendants and Pharmacy Defendants in a

 position of great trust and responsibility to Delaware. Distributor Defendants and



                                          107
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 123 of 194 PageID #: 144



 Pharmacy Defendants owe a special duty to Delaware; the duty owed cannot be

 delegated to another party.

       287. Distributor Defendants and Pharmacy Defendants were also negligent

 or reckless in voluntarily undertaking duties to the State that they breached.

 Distributor Defendants and Pharmacy Defendants, through their statements to the

 media, regulators, insurance companies, customers, and the public at large,

 undertook duties to take all reasonable precautions to prevent drug diversion.

       288. Distributor Defendants and Pharmacy Defendants’ conduct was the

 cause-in-fact and proximate cause of injuries and damages to Delaware, its

 counties, municipalities and its citizens, including but not limited to the following:

 increased costs for healthcare, criminal justice, social services, welfare, and

 education systems, as well as the cost of lost productivity and lower tax revenues.

       289. Delaware is without fault, and the injuries to it would not have

 happened in the ordinary course of events if Distributor Defendants and Pharmacy

 Defendants had used due care commensurate to the dangers involved in the

 distribution and dispensing of controlled substances.

       290. The reckless, wanton, and reprehensible nature of Distributor

 Defendants and Pharmacy Defendants’ conduct entitles Delaware to an award of

 punitive damages and attorneys’ fees and costs.




                                          108
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 124 of 194 PageID #: 145




                                  COUNT VIII
                            UNJUST ENRICHMENT
           (Against Distributor Defendants and Pharmacy Defendants)

       291. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       292. Delaware has expended substantial amounts of money in an effort to

 remedy or mitigate the societal harms caused by Distributor Defendants’ and

 Pharmacy Defendants’ conduct.

       293. Delaware’s expenditures in providing healthcare services to people

 who use opioids have added to Distributor Defendants’ and Pharmacy Defendants’

 wealth. The expenditures by Delaware have helped sustain Distributor

 Defendants’ and Pharmacy Defendants’ businesses.

       294. In this way, Delaware has conferred a benefit upon Distributor

 Defendants and Pharmacy Defendants, by paying for what may be called

 Distributor Defendants’ and Pharmacy Defendants’ externalities—the costs of the

 harm caused by Distributor Defendants’ and Pharmacy Defendants’ improper

 sales, distribution, and dispensing practices.

       295. Delaware has also expended substantial amounts of money paying for

 purchases by unauthorized users of prescription opioids from Distributor

 Defendants’ and Pharmacy Defendants’ supply chain for non-medical purposes.




                                            109
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 125 of 194 PageID #: 146



       296. In this way, Delaware has conferred a benefit upon Distributor

 Defendants and Pharmacy Defendants.

       297. Distributor Defendants and Pharmacy Defendants made substantial

 profits while fueling the prescription opioid epidemic in Delaware.

       298. Distributor Defendants and Pharmacy Defendants continue to receive

 considerable profits from the sale, distribution, and dispensing of controlled

 substances in Delaware.

       299. Distributor Defendants and Pharmacy Defendants are aware of these

 obvious benefits, and that retention of these benefits is not justified under these

 circumstances.

       300. Distributor Defendants and Pharmacy Defendants have been unjustly

 enriched by these benefits.

       301. It would be inequitable to allow Distributor Defendants and Pharmacy

 Defendants to retain these benefits.

                                COUNT IX
                           CIVIL CONSPIRACY
   (Against Manufacturer Defendants, Distributor Defendants, and Pharmacy
                                Defendants)

       302. Delaware realleges and incorporates by reference the foregoing

 allegations as if set forth at length herein.

       303. Manufacturer Defendants have engaged, and continue to engage, in a

 massive marketing campaign to misstate and conceal the risks of treating chronic


                                            110
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 126 of 194 PageID #: 147



 pain with opioids. Their aggressive marketing campaign enabled Manufacturer

 Defendants to overcome the longstanding medical consensus that opioids were

 unsafe for the treatment of chronic pain and resulted in a significant increase in the

 number of opioids prescribed nationwide.

       304. In response to and in conjunction with this increased demand,

 Distributor Defendants continuously supplied prescription opioids to Pharmacy

 Defendants, which then dispensed these prescription opioids. These transactions

 occurred despite Distributor Defendants and Pharmacy Defendants having actual

 or constructive knowledge that they were habitually breaching their common law

 duties and violating the DE CSA and FCSA.

       305. Without Manufacturer Defendants’ misrepresentations, which created

 demand, Distributor Defendants would not have been able to sell to Pharmacy

 Defendants the increasing number of orders of prescription opioids for non-

 medical purposes throughout Delaware.

       306. Without Distributor Defendants’ supply of prescription opioids,

 Pharmacy Defendants would not have been able to fill and dispense the increasing

 number of orders of prescription opioids for non-medical purposes throughout

 Delaware.




                                          111
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 127 of 194 PageID #: 148



        307. None of the Defendants would have succeeded in profiting so

 significantly from the opioid epidemic without the concerted conduct of the other

 parties.

        308. As a result of the concerted action between Manufacturer Defendants,

 Distributor Defendants, and Pharmacy Defendants, Delaware law was continually

 violated by the provision of opioids throughout the supply chain.

        309. As a result of the concerted action between Manufacturer Defendants,

 Distributor Defendants, and Pharmacy Defendants, Delaware and its citizens have

 suffered damages.

        310. Manufacturer Defendants, Distributor Defendants, and Pharmacy

 Defendants need not have expressly agreed to this course of action; concerted

 conduct itself is sufficient.

        311. Manufacturer Defendants, Distributor Defendants, and Pharmacy

 Defendants are jointly and severally liable for the results of their concerted efforts.

                                 PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, State of Delaware, prays that this Court enter

 judgment in its favor against Defendants and:

        a.     On Count I (Consumer Fraud Against Manufacturer Defendants),

               i.     Enter an order that directs Manufacturer Defendants to “cease

 and desist the[ir] unlawful conduct prospectively,” i.e., cease and desist violating



                                          112
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 128 of 194 PageID #: 149



 the Delaware Consumer Fraud Act, 6 Del. C. §§ 2511, et seq., in connection with

 the marketing, manufacture, and sale of prescription opioids;

              ii.    Enter an order levying penalties against Manufacturer

 Defendants, jointly and severally, in the amount of $10,000 per violation for each

 and every instance where they breached the provisions of the Delaware Consumer

 Fraud Act;

              iii.   Award Delaware such additional relief as may be necessary to

 remedy Manufacturer Defendants’ violations of the Delaware Consumer Fraud

 Act, including the “return [of] any moneys obtained unlawfully,” “order[s of]

 restitution, rescission, recoupment, or [any] other relief appropriate to prevent

 [Manufacturer Defendants] from being unjustly enriched”; and

              iv.    Award Delaware the costs of bringing this action, investigative

 costs and fees, attorneys’ fees, and such other and additional relief as the Court

 may determine to be just and proper.

       b.     On Count II (Nuisance Against Manufacturer Defendants),

              i.     Order Manufacturer Defendants to pay the expenses Delaware,

 its counties and municipalities have incurred or will incur in the future to abate

 fully the nuisance they have caused;

              ii.    Award Delaware punitive damages; and

              iii.   Order such further relief as justice and equity may require.



                                          113
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 129 of 194 PageID #: 150



       c.     On Count III (Negligence Against Manufacturer Defendants),

              i.     Award Delaware compensatory damages for the increased costs

 to Delaware’s healthcare, criminal justice, social services, welfare, and education

 systems, as well as the cost of lost productivity and lower tax revenue due to

 Manufacturer Defendants’ negligence;

              ii.    Award Delaware punitive damages;

              iii.   Award Delaware attorneys’ fees and costs; and

              iv.    Order such further relief as justice and equity may require.

       d.     On Count IV (Unjust Enrichment Against Manufacturer Defendants),

              i.     Award Delaware restitution of its costs caused by Manufacturer

 Defendants’ actions, including the costs of addressing Defendants’ externalities

 and the costs of prescription opioids paid for by the State;

              ii.    Disgorge Manufacturer Defendants of all amounts they have

 unjustly obtained; and

              iii.   Order such further relief as justice and equity may require.

       e.     On Count V (Consumer Fraud Against Distributor Defendants and

 Pharmacy Defendants),

              i.     Enter an order that directs Distributor Defendants and

 Pharmacy Defendants to “cease and desist the[ir] unlawful conduct prospectively,”

 i.e., cease and desist violating the Delaware Consumer Fraud Act, 6 Del. C.



                                          114
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 130 of 194 PageID #: 151



 §§ 2511, et seq., in connection with the sale, distribution, or dispensing of

 prescription opioids;

                ii.    Enter an order levying penalties against Distributor Defendants

 and Pharmacy Defendants, jointly and severally with each other, in the amount of

 $10,000 per violation for each and every instance where they breached the

 provisions of the Delaware Consumer Fraud Act;

                iii.   Award Delaware such additional relief as may be necessary to

 remedy Distributor Defendants’ and Pharmacy Defendants’ violations of the

 Delaware Consumer Fraud Act, including the “return [of] any moneys obtained

 unlawfully,” “order[s of] restitution, rescission, recoupment, or [any] other relief

 appropriate to prevent [Distributor Defendants and Pharmacy Defendants] from

 being unjustly enriched”; and

                iv.    Award Delaware the costs of bringing this action, investigative

 costs and fees, attorneys’ fees, and such other and additional relief as the Court

 may determine to be just and proper.

       f.       On Count VI (Nuisance Against Distributor Defendants and Pharmacy

 Defendants),

                i.     Order Distributor Defendants and Pharmacy Defendants to pay

 the expenses Delaware, its counties and municipalities have incurred or will incur

 in the future to abate fully the nuisance they have caused;



                                           115
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 131 of 194 PageID #: 152



              ii.    Award Delaware punitive damages; and

              iii.   Order such further relief as justice and equity may require.

       g.     On Count VII (Negligence Against Distributor Defendants and

 Pharmacy Defendants),

              i.     Award Delaware compensatory damages for the increased costs

 to Delaware’s healthcare, criminal justice system, social services, welfare, and

 education systems, as well as the cost of lost productivity and lower tax revenue

 due to Distributor Defendants’ and Pharmacy Defendants’ negligence;

              ii.    Award Delaware punitive damages;

              iii.   Award Delaware attorneys’ fees and costs; and

              iv.    Order such further relief as justice and equity may require.

       h.     On Count VIII (Unjust Enrichment Against Distributor Defendants

 and Pharmacy Defendants),

              i.     Award Delaware restitution of its costs caused by Distributor

 Defendants’ and Pharmacy Defendants’ actions, including the costs of addressing

 Distributor Defendants’ and Pharmacy Defendants’ externalities and the costs of

 prescription opioids paid for by the State;

              ii.    Disgorge Distributor Defendants and Pharmacy Defendants of

 all amounts they have unjustly obtained; and

              iii.   Order such further relief as justice and equity may require.



                                          116
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 132 of 194 PageID #: 153



       i.     On Count IX (Civil Conspiracy Against Manufacturer Defendants,

 Distributor Defendants, and Pharmacy Defendants),

              i.    Award Delaware compensatory and punitive damages for the

 conspiracy in which Manufacturer Defendants, Distributor Defendants, and

 Pharmacy Defendants engaged; and

              ii.   Order such further relief as justice and equity may require.

                          REQUEST FOR JURY TRIAL

       Delaware respectfully requests that all issues presented by its above

 Complaint be tried by a jury, with the exception of those issues that, by law, must

 be tried before the Court.



 Date: January 19, 2018

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                                         117
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 133 of 194 PageID #: 154



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                                      118
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 134 of 194 PageID #: 155
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                                                Case No. N18C-01-223 MMJ CCLD
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 135 of 194 PageID #: 156
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 136 of 194 PageID #: 157
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 137 of 194 PageID #: 158
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 138 of 194 PageID #: 159
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 139 of 194 PageID #: 160
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 140 of 194 PageID #: 161
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 141 of 194 PageID #: 162
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 142 of 194 PageID #: 163
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 143 of 194 PageID #: 164
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 144 of 194 PageID #: 165
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 145 of 194 PageID #: 166
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 146 of 194 PageID #: 167
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 147 of 194 PageID #: 168
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 148 of 194 PageID #: 169
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 149 of 194 PageID #: 170
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 150 of 194 PageID #: 171
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 151 of 194 PageID #: 172
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 152 of 194 PageID #: 173
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 153 of 194 PageID #: 174
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 154 of 194 PageID #: 175
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 155 of 194 PageID #: 176
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 156 of 194 PageID #: 177
                                                EFiled: Feb 08 2018 11:27AM EST
                                                Transaction ID 61666159
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/8/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - ENDO HEALTH SOLUTIONS, INC

 On 2/7/2018 at 12:00 PM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon Amy McLaren, a representative for the registered agent
 CORPORATION TRUST COMPANY 1209 N. ORANGE STREET WILMINGTON, DE
 19801 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Ronald Fioravanti

 SO ANS;



          SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 157 of 194 PageID #: 178
                                                EFiled: Feb 08 2018 11:27AM EST
                                                Transaction ID 61666161
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/8/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - ENDO PHARMACEUTICALS, INC

 On 2/7/2018 at 12:00 PM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon Amy McLaren, a representative for the registered agent
 CORPORATION TRUST COMPANY 1209 N. ORANGE STREET WILMINGTON, DE
 19801 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Ronald Fioravanti

 SO ANS;



          SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 158 of 194 PageID #: 179
                                                EFiled: Feb 08 2018 11:27AM EST
                                                Transaction ID 61666162
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/8/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - AMERISOURCEBERGEN CORPORATION

 On 2/7/2018 at 12:00 PM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon Amy McLaren, a representative for the registered agent
 CORPORATION TRUST COMPANY 1209 N. ORANGE STREET WILMINGTON, DE
 19801 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Ronald Fioravanti

 SO ANS;



          SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 159 of 194 PageID #: 180
                                                EFiled: Feb 08 2018 11:27AM EST
                                                Transaction ID 61666163
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/8/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - CVS HEALTH CORPORATION

 On 2/7/2018 at 12:00 PM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon Amy McLaren, a representative for the registered agent
 CORPORATION TRUST COMPANY 1209 N. ORANGE STREET WILMINGTON, DE
 19801 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Ronald Fioravanti

 SO ANS;



          SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 160 of 194 PageID #: 181
                                                EFiled: Feb 09 2018 12:20PM EST
                                                Transaction ID 61671699
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/9/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - THE PURDUE FREDERICK COMPANY, INC

 On 2/8/2018 at 11:00 AM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon LITIGATION MANAGEMENT REPRESENTATIVE, a
 representative for the registered agent PRENTICE HALL CORPORATION SYSTEM, INC 251
 LITTLE FALLS DRIVE WILMINGTON, DE 19808 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Jeffrey Maddocks

 SO ANS;



         SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 161 of 194 PageID #: 182
                                                EFiled: Feb 09 2018 12:20PM EST
                                                Transaction ID 61671698
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/9/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - PERDUE PHARMA L P

 On 2/8/2018 at 11:00 AM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon LITIGATION MANAGEMENT REPRESENTATIVE, a
 representative for the registered agent PRENTICE HALL CORPORATION SYSTEM, INC 251
 LITTLE FALLS DRIVE WILMINGTON, DE 19808 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Jeffrey Maddocks

 SO ANS;



         SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 162 of 194 PageID #: 183
                                                EFiled: Feb 09 2018 12:20PM EST
                                                Transaction ID 61671701
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/9/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - MCKESSON CORPORATION

 On 2/8/2018 at 11:00 AM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon LITIGATION MANAGEMENT REPRESENTATIVE, a
 representative for the registered agent CORPORATION SERVICE COMPANY 251 LITTLE
 FALLS DRIVE WILMINGTON, DE 19808 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Jeffrey Maddocks

 SO ANS;



         SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 163 of 194 PageID #: 184
                                                EFiled: Feb 09 2018 12:20PM EST
                                                Transaction ID 61671702
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/9/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - H D SMITH LLC

 On 2/8/2018 at 11:00 AM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon LITIGATION MANAGEMENT REPRESENTATIVE, a
 representative for the registered agent CORPORATION SERVICE COMPANY 251 LITTLE
 FALLS DRIVE WILMINGTON, DE 19808 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Jeffrey Maddocks

 SO ANS;



         SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 164 of 194 PageID #: 185
                                                EFiled: Feb 09 2018 12:20PM EST
                                                Transaction ID 61671703
                                                Case No. N18C-01-223 MMJ CCLD
                  Sheriff's Office                                    State of Delaware
                  800 N. French Street, 5th Floor                    New Castle County
                  Wilmington, Delaware 19801                       Samuel D. Pratcher. Jr.
                  302-395-8450, Fax: 302-395-8460                          Sheriff


                                                                     2/9/2018
 Court Case # N18C-01-223 MMJ CCLD
 Sheriff # 18-001186

 Summons and Complaint

  STATE OF DELAWARE EX REL MATTHEW P DENN ATTORNEY GENERAL OF
                     THE STATE OF DELAWARE
                               vs
                     PERDUE PHARMA L P ET AL

 Entity - WALGREENS BOOTS ALLIANCE INC

 On 2/8/2018 at 11:00 AM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon LITIGATION MANAGEMENT REPRESENTATIVE, a
 representative for the registered agent CORPORATION SERVICE COMPANY 251 LITTLE
 FALLS DRIVE WILMINGTON, DE 19808 .



 Fees Paid: $120.00

 Per: Deputy Sheriff, Jeffrey Maddocks

 SO ANS;



         SHERIFF

 PER Diane Baker
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 165 of 194 PageID #: 186
                                                EFiled: Feb 14 2018 02:58PM EST
                                                Transaction ID 61690686
                                                Case No. N18C-01-223 MMJ CCLD
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 166 of 194 PageID #: 187
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 167 of 194 PageID #: 188
                                                EFiled: Feb 21 2018 03:01PM EST
                                                Transaction ID 61713743
                                                Case No. N18C-01-223 MMJ CCLD
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 168 of 194 PageID #: 189
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 169 of 194 PageID #: 190
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 170 of 194 PageID #: 191
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 171 of 194 PageID #: 192
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 172 of 194 PageID #: 193
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 173 of 194 PageID #: 194
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 174 of 194 PageID #: 195
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 175 of 194 PageID #: 196
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 176 of 194 PageID #: 197
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 177 of 194 PageID #: 198
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 178 of 194 PageID #: 199
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 179 of 194 PageID #: 200
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 180 of 194 PageID #: 201
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 181 of 194 PageID #: 202
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 182 of 194 PageID #: 203
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 183 of 194 PageID #: 204
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 184 of 194 PageID #: 205
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 185 of 194 PageID #: 206
                                                EFiled: Feb 22 2018 11:07AM EST
                                                Transaction ID 61716436
                                                Case No. N18C-01-223 MMJ CCLD
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 186 of 194 PageID #: 207
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 187 of 194 PageID #: 208
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 188 of 194 PageID #: 209
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 189 of 194 PageID #: 210
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 190 of 194 PageID #: 211
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 191 of 194 PageID #: 212
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 192 of 194 PageID #: 213
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 193 of 194 PageID #: 214
Case 1:18-cv-00383-RGA Document 1-1 Filed 03/09/18 Page 194 of 194 PageID #: 215
                                                EFiled: Feb 22 2018 11:07AM EST
                                                Transaction ID 61716436
                                                Case No. N18C-01-223 MMJ CCLD
                         CERTIFICATE OF SERVICE

       I, Ryan P. Newell, hereby certify that, on this 22nd day of February 2018, I

 caused a copy of the foregoing Affidavits of Service from Brandywine Process

 Servers for service upon: Walgreens Boots Alliance, Inc., Endo Health Solutions,

 Inc., Endo Pharmaceuticals Inc., Amerisourcebergen Corporation, CVS Health

 Corporation, Purdue Pharma L.P., The Purdue Frederick Company, McKesson

 Corporation, H.D. Smith LLC via their registered agents to be served upon the

 following via File & ServeXpress:

      Thomas E. Hanson, Jr. (# 4102)
      BARNES & THORNBURG LLP
      1000 N. West Street, Suite 1500
      Wilmington, DE 19801-1058
      Telephone: (302) 300-3447
      Facsimile: (302) 300-3456
      thanson@btlaw.com
      Counsel for Defendant H.D. Smith, LLC




                                            /s/ Ryan P. Newell
